                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              Civil Action No: 5:22-cv-30


 KAMERON HILTON,
                Plaintiff,
        v.                                                            COMPLAINT

 MERCK & CO., INC., and MERCK, SHARP &                           (Jury Trial Demanded)
 DOHME CORP.,
                Defendants.



       COMES NOW Plaintiff, Kameron Hilton, who by and through counsel, alleges against

defendants MERCK & CO., INC., and MERCK, SHARP AND DOHME CORPORATION, and

each of them, as follows:

                                       INTRODUCTION

       1.      This common-law products liability, negligence, gross negligence, breach of

warranty, fraud and punitive damages action, arises out of serious and debilitating injuries,

including but not limited to autonomic, neurological and heterogenous autoimmune injuries, and

resulting sequalae that plaintiff, Kameron Hilton (“Plaintiff”), sustained as a result of receiving

injections of the Gardasil vaccine, which was manufactured, labeled, and promoted by defendants

Merck & Co., Inc., and Merck, Sharp and Dohme Corporation (collectively “Merck”).

                                    PARTIES AND VENUE

       2.      Plaintiff, Kameron Hilton (“Hilton” or “Plaintiff”), is an adult and a resident and

citizen of Mooresville, Iredell County, North Carolina.

       3.      Defendant Merck & Co., Inc., is a New Jersey corporation with its principal place

of business at One Merck Drive, Whitehouse Station, New Jersey.
       4.      Defendant Merck, Sharp and Dohme Corporation, is a New Jersey corporation with

its principal place of business at One Merck Drive, Whitehouse Station, New Jersey.

       5.      Defendants Merck & Co., Inc., and Merck, Sharp and Dohme Corporation shall

hereinafter collectively be referred to as “Merck.”

       6.      At all times herein mentioned, each Defendant was the agent, servant, partner, aider

and abettor, co-conspirator and/or joint venturer of the other Defendant named herein and was at

all times operating and acting within the purpose and scope of said agency, service, employment,

partnership, conspiracy and/or joint venture and rendered substantial assistance and

encouragement to the other Defendant, knowing that their collective conduct constituted a breach

of duty owed to Plaintiff.

       7.      At all times herein mentioned, Defendants were fully informed of the actions of

their agents and employees, and thereafter no officer, director or managing agent of Defendants

repudiated those actions, which failure to repudiate constituted adoption and approval of said

actions and all defendants and each of them, thereby ratified those actions.

       8.      There exists and, at all times herein mentioned there existed, a unity of interest in

ownership between the named Defendants, such that any individuality and separateness between

the defendants has ceased and these defendants are the alter-ego of each other and exerted control

over each other. Adherence to the fiction of the separate existence of these two named Defendants

as entities distinct from each other will permit an abuse of the corporate privilege and would

sanction a fraud and/or would promote injustice.

       9.      At all times herein mentioned, the two Merck Defendants were engaged in the

business of, or were successors in interest to, entities engaged in the business of researching,

formulating, compounding, testing, manufacturing, producing, processing, assembling,



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inspecting, distributing, marketing, labeling, promoting, packaging, prescribing and/or

advertising for sale, and selling products for use by patients such as Plaintiff and her medical

providers. As such, the two Merck Defendants are each individually, as well as jointly and

severally, liable to Plaintiff for her damages.

       10.    The harm caused to Plaintiff resulted from the conduct of one or various

combinations of the two Merck Defendants, and through no fault of Plaintiff. There may be

uncertainty as to which one or which combination of the two Merck Defendants caused the harm.

The two Merck Defendants have superior knowledge and information on the subject of which one

or which combination of the two Defendants caused Plaintiff’s injuries. Thus, the burden of proof

should be upon each of the two Merck Defendants to prove that the Defendant has not caused the

harms Plaintiff has suffered.

       11.    Merck is the manufacturer, labeler, and promoter of the Gardasil and Gardasil 9

vaccines, which are purported to be “cervical cancer vaccines” and “anal cancer vaccines” by

preventing a handful of the hundreds of strains of the Human Papillomavirus (“HPV”). Merck

regularly conducts and transacts business in North Carolina and has promoted Gardasil to

consumers, patients, hospitals, physicians, nurses and medical professionals, including but not

limited to Plaintiff, and the medical facility and medical professionals who prescribed and/or

injected Plaintiff with Gardasil. This Court has personal jurisdiction over Merck because

Defendants have sufficient minimum contacts with North Carolina to render the exercise of

jurisdiction by this Court proper.

       12.    This Court has subject matter jurisdiction over the parties pursuant to 28 U.S.C.

§1332(a) because Plaintiff and Defendants are citizens of different states and the amount of

controversy exceeds $75,000.00, exclusive of interest and costs.



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        13.    Venue is proper in this Court pursuant to 28 U.S.C. §1391 because a substantial

portion of the events and omissions giving rise to the claims asserted herein occurred in this

District.

                                  GENERAL ALLEGATIONS

I.      Merck’s History of Problematic Products Causing Litigation and Financial

Difficulties Lays the Groundwork for Its Approach to Gardasil.

        14.    Merck traces its history back to 1668, when the original founder of the company,

Friedrich Jacob Merck, bought an apothecary in Darmstadt, Germany. The company operated as

a pharmacy for approximately the next 150+ years when, in 1827, Friedrich’s descendant, Heinrich

Emmanuel Merck, converted the company into a drug manufacturing enterprise. Merck’s first

products included morphine and cocaine.

        15.    Merck later manufactured a number of controversial products including Fosamax

(a purported bone density drug that caused bone fractures), Nuvaring (a birth control device

associated with life-threatening blood clots and death), and probably its most infamous drug,

Vioxx (a pain medication Merck was forced to pull from the market due to its cardiovascular risks),

all of which landed Merck in litigation difficulties.

        16.    With regard to Vioxx, Merck was sued by tens of thousands of patients who alleged

they suffered heart attacks and other cardiovascular injuries as a result of ingesting the blockbuster

pain medication.

        17.    Documents unsealed during the Vioxx litigation in the early 2000s revealed a

culture wherein Merck knew early on that Vioxx was linked to fatal cardiovascular adverse events

but nonetheless intentionally chose to conceal these risks from the public and medical community

and, instead, orchestrated a scheme to downplay the severity of the risks. Merck misrepresented



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the results of its clinical trials, failed to undertake the clinical trials that would reveal risks, and

blacklisted medical professionals who dared to publicly criticize the safety of Vioxx. See e.g.,

Eric J. Topol, Failing the Public Health – Rofecoxib, Merck, and the FDA, 351 NEW ENGLAND

JOURNAL    OF   MEDICINE 1707 (2004); Gregory D. Curfman et al., Expression of Concern

Reaffirmed, 354 NEW ENGLAND JOURNAL OF MEDICINE 1193 (2006); Aaron S. Kesselheim et al.,

Role of Litigation in Defining Drug Risks, 17 JAMA 308 (2007); Harlan M. Krumholz et al., What

We Have Learnt From Vioxx, 334 BRITISH MED. J. 120 (2007).

        18.     The British Medical Journal reported that internal documents and communications

obtained from Merck during litigation revealed that Merck scientists internally acknowledged the

existence of Vioxx’s risks very early on: “Since the early development of [Vioxx], some scientists

at Merck were concerned that the drug might adversely affect the cardiovascular system.… In

internal emails made public through litigation, Merck officials sought to soften the academic

authors’ interpretation [of the data]. The academic authors changed the manuscript at Merck’s

request [to make less of the apparent risk].…” Harlan M. Krumholz et al., What We Have Learnt

From Vioxx, 334 BRITISH MED. J. 120 (2007). And, despite Merck’s knowledge of the risk, Merck

never conducted the necessary studies designed to evaluate cardiovascular risk. Id.

        19.     In an article published in the Journal of the American Medical Association, it was

reported that Merck worked to “diminish the impact of reported cardiovascular adverse effects by

not publishing adverse events and failing to include complete data on myocardial infarctions that

occurred during a key clinical trial. The information came to the public attention through a

subpoena 5 years after the article’s publication, when [Vioxx] was already off the market.” Aaron

S. Kesselheim et al., Role of Litigation in Defining Drug Risks, 17 JAMA 308 (2007). The article

concludes: “These case studies indicate that clinical trials and routine regulatory oversight as



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currently practiced often fail to uncover important adverse effects for widely marketed products.

In each instance, the litigation process revealed new data on the incidence of adverse events,

enabled reassessment of drug risks through better evaluation of data, and influenced corporate and

regulatory behavior.” Id.

       20.     It was also revealed and reported that, in order to control the public narrative that

Vioxx was safe and risk free, “Merck issued a relentless series of publications … complemented

by numerous papers in peer-reviewed medical literature by Merck employees and their consultants.

The company sponsored countless continuing medical ‘education’ symposiums at national

meetings in an effort to debunk the concern about adverse cardiovascular effects.” Eric J. Topol,

Failing the Public Health – Rofecoxib, Merck, and the FDA, 351 NEW ENGLAND JOURNAL OF

MEDICINE 1707 (2004). In addition, Merck “selectively targeted doctors who raised questions

about [Vioxx], going so far as pressuring some of them through department chairs.” Harlan M.

Krumholz et al., What We Have Learnt From Vioxx, 334 BRITISH MED. J. 120 (2007). Dr. Topol,

Chairman of the Department of Cardiovascular Medicine at the Cleveland Clinic, commented:

“Sadly, it is clear to me that Merck’s commercial interest in [Vioxx] sales exceeded its concern

about the drug’s potential cardiovascular toxicity.” Eric J. Topol, Failing the Public Health –

Rofecoxib, Merck, and the FDA, 351 NEW ENGLAND JOURNAL OF MEDICINE 1707 (2004).

       21.     Once Merck’s misdeeds vis-à-vis Vioxx were revealed in various jury trials, Merck

paid nearly $5 billion to settle the tens of thousands of personal injury actions that had been brought

against it as a result of its concealment of Vioxx’s cardiovascular risks. Merck paid an additional

$1 billion to settle a securities class action brought by investors who had lost money when Merck’s

stock tanked following revelations of the drug’s risks and subsequent lost sales. Merck was also

forced to pay $950 million in civil and criminal fines to the Department of Justice and other



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governmental entities as a result of various criminal activities Merck had engaged in with respect

to Vioxx.

         22.   In 2005, Merck pulled Vioxx from the market and was desperate to find a

replacement for its previous multi-billion-dollar blockbuster.

         23.   Gardasil was viewed as the answer to the financial woes Merck had suffered from

Vioxx.

         24.   Indeed, some have euphemistically noted that HPV stood for “Help Pay for Vioxx.”

         25.   In the aftermath of the Vioxx scandal, and seeking a replacement product, Merck’s

senior director of clinical research, Eliav Barr, M.D., proclaimed of Gardasil: “This is it. This is

the Holy Grail!”

II.      In Bringing Its Self-Proclaimed Holy Grail, Gardasil to Market, Merck Engaged in

the Same Fraudulent Research and Marketing It Had Engaged in Vis-à-vis Vioxx Resulting

In Patients Being Exposed to a Vaccine That is of Questionable Efficacy and Which Can

Cause Serious and Debilitating Adverse Events

         26.   As outlined herein, in researching and marketing its new self-proclaimed Holy

Grail, Gardasil, Merck engaged in the same unscrupulous tactics it had so infamously engaged in

with Vioxx.

         27.   Certain Merck employees, scientists and executives involved in the Vioxx scandal

were also involved with Gardasil, and it appears they employed the very same methods of

manipulating science and obscuring risks as they did with Vioxx.

         28.   According to Merck’s marketing claims, Gardasil (and, later, next-generation

Gardasil 9) provided lifetime immunity to cervical, anal, and other HPV-associated cancers.




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          29.   As discussed more fully below, whether Gardasil prevents cancer (not to mention

lifetime immunity), is unproven. In fact, it may be more likely to cause cancer in those previously

exposed to HPV than to prevent it.

          30.   Moreover, Merck knows and actively conceals the fact that Gardasil can cause a

constellation of serious adverse reactions and gruesome diseases, including autoimmune diseases,

and death in some recipients.

          31.   As a result of Merck’s fraud, Gardasil today is wreaking havoc on a substantial

swath of an entire generation of children and young adults on a worldwide scale.

A.        Overview of the Human Papillomavirus

          32.   Human Papillomavirus (“HPV”) is a viral infection that is passed between people

through skin-to-skin contact. There are more than 200 strains of HPV, and of those, more than 40

strains can be passed through sexual contact.

          33.   HPV is the most common sexually transmitted disease. It is so common that the

majority of sexually active people will get it at some point in their lives, even if they have few

sexual partners.

          34.   HPV, for the most part, is benign. More than 90 percent of HPV infections cause

no clinical symptoms, are self-limited, and are removed from the human body by its own

immunological mechanisms and disappear naturally from the body following an infection. See,

e.g., Antonio C. de Freitas et al., Susceptibility to cervical cancer: An Overview, 126

GYNECOLOGIC ONCOLOGY 306 (August 2012).

          35.   Approximately 12 to 18 of the over 200 strains of HPV are believed to be associated

with cervical cancer, and approximately six of the strains are believed to be associated with anal

cancer.



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         36.    Not every HPV infection puts one at risk for cervical cancer. Only persistent HPV

infections – not short-term or transient infections or sequential infections with different HPV types

– in a limited number of cases with certain strains of the virus may cause the development of

precancerous lesions. With respect to cervical cancer, these precancerous lesions are typically

diagnosed through Pap smears and then removed through medical procedures. However, when

undiagnosed, they may in some cases progress to cervical cancer in some women. Other risk

factors, such as smoking, are also associated with cervical cancer. See Antonio C. de Freitas et

al., Susceptibility to cervical cancer: An Overview, 126 GYNECOLOGIC ONCOLOGY 305 (August

2012). Infection with certain types of HPV is also associated with other diseases, such as genital

warts.

         37.    Public health officials have long recommended the Pap test (also known as Pap

smear), which detects abnormalities in cervical tissue, as the most effective frontline public health

response to the disease.

         38.    Since its introduction, cervical cancer screening through the Pap test has reduced

the rates of cervical cancer in developed countries by up to 80 percent. Id.

         39.    Incidences of cervical cancer have been declining dramatically worldwide as

countries have implemented Pap screening programs.

         40.    New cases of cervical cancer in the U.S. affect approximately 0.8 percent of women

in   their     lifetime.     See    Cancer      Stat   Facts:    Cervical      Cancer,    NIH,     at

https://seer.cancer.gov/statfacts/html/cervix.html. For those who are diagnosed, cervical cancer is

largely treatable, with a five-year survival rate of over 90 percent when the cancer is caught early.

See Antonio C. de Freitas et al., Susceptibility to cervical cancer: An Overview, 126 GYNECOLOGIC




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ONCOLOGY 305 (August 2012). Anal cancer is even more rare, and according to the current data,

approximately 0.2 percent of people will be diagnosed with anal cancer in their lifetime.

       41.     Although the incidence of cervical cancer was in rapid decline as a result of the

implementation of routine testing and screening, including the Pap test and various DNA testing

measures, Merck sought to fast-track a vaccine onto the market to prevent infection from four

types of HPV (only two of which are associated with cancer).

B.     Overview of the Gardasil Vaccine and Its Fast-Tracked Approval

       42.     While there are over 200 types of the HPV virus, only 12 to 18 types currently are

considered potentially associated with cervical or anal cancer. Merck’s original Gardasil vaccine

claimed to prevent infections from four strains (HPV Strain Types 6, 11, 16 and 18) and only two

of those (Types 16 and 18) were associated with cervical and anal cancer.

       43.     Under Food and Drug Administration (“FDA”) requirements, to obtain approval

for marketing a vaccine, the manufacturer must conduct studies to test the effectiveness and safety

of the vaccine. Once FDA approval is obtained, the manufacturer has a duty to perform any further

scientific and medical investigation as a reasonably prudent manufacturer would perform, and to

engage in any necessary post-marketing pharmacovigilance related to the product.

       44.     The FDA approved Gardasil on June 8, 2006, after granting Merck fast-track status

and speeding the approval process to a six-month period, leaving unanswered material questions

relating to its effectiveness and safety as well as when and to whom the Gardasil vaccine ought to

be administered.

       45.     Merck failed, during the preapproval processing period and thereafter, to disclose

(to the FDA and/or the public), material facts and information relating to the effectiveness and

safety of Gardasil, as well as to whom the vaccine should or should not be administered.



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       46.     Merck failed to perform in the preapproval processing period and thereafter,

scientific and medical investigations and studies relating to the safety, effectiveness, and need for

the Gardasil vaccine as either required by and under FDA directives and regulations, and/or those

which a prudent manufacturer should have conducted unilaterally.

       47.     In June 2006, after the FDA’s fast-tracked review, Gardasil was approved for use

in females ages nine through 26 for the purported prevention of cervical cancer and, almost

immediately thereafter, the Advisory Committee on Immunization Practices (“ACIP”), a

committee within the Centers for Disease Control (“CDC”), recommended Gardasil for routine

vaccination of adolescent girls ages eleven and twelve years old, but also allowed it to be

administered to girls as young as nine years old.

       48.     On October 16, 2009, the FDA approved Gardasil for use in boys ages nine through

26 for the prevention of genital warts caused by HPV types 6 and 11, and in December 2010, it

approved Gardasil for the purported prevention of anal cancer in males and females ages nine

through 26.

       49.     Subsequently, Merck sought approval for Gardasil 9 (containing the same

ingredients as Gardasil, but in higher quantities), which purportedly guarded against five additional

HPV strains currently associated with cervical cancer and anal cancer (HPV Types 31, 33, 45, 52

and 58) than the original Gardasil, for a total of nine strains.

       50.     The FDA approved Gardasil 9 in December 2014, for use in girls ages nine through

26 and boys ages nine through 15 for the purported prevention of cervical, vaginal, and anal

cancers. Presently, Gardasil 9 has been approved for and is being promoted by Merck to males

and females who are between nine and 45 years of age, with an emphasis by Merck on marketing

to pre-teen children and their parents. With little evidence of efficacy, the FDA also recently



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approved, on an accelerated basis, Gardasil 9 for prevention of oropharyngeal and other head and

neck cancers.

       51.      After the approval of the Gardasil 9 vaccine, the original Gardasil vaccine was

phased out of the U.S. Market; and the original Gardasil vaccine is no longer available for sale in

the United States.

       52.      According to data from the National Cancer Institute’s (“NCI”) Surveillance,

Epidemiology and End Results Program (“SEER”), the incidence of deaths from cervical cancer

prior to Gardasil’s introduction in the United States had been steadily declining for years and, in

2006, was 2.4 per 100,000 women or approximately 1 in every 42,000 women. The currently

available rate is essentially unchanged, 2.2 per 100,000 women, based on data through 2017.

       53.      The median age of death from cervical cancer is 58, and death from anal cancer is

66, and teenagers (who are the target population of Gardasil) essentially have zero risk of dying

from cervical or anal cancer.

       54.      Merck purchased fast-track review for Gardasil and Gardasil 9 under the

Prescription Drug User Fee Act (“PDUFA”). Fast-track is a process designed to facilitate the

development of drugs, and to expedite their review, in order to treat serious conditions and fill an

unmet medical need.

       55.      Anxious to get Gardasil onto the market as soon as possible following the Vioxx

debacle, Merck sought fast-track approval even though there already existed a highly effective and

side-effect free intervention, Pap smears, with no evidence that Gardasil was potentially superior

to Pap smears in preventing cervical cancer.

       56.      In fact, the clinical trials Merck undertook did not even examine Gardasil’s

potential to prevent cancer, rather, the trials only analyzed whether Gardasil could prevent



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potential precursor conditions, i.e., HPV infections and cervical interepithelial neoplasia (“CIN”)

lesions graded from CIN1 (least serious) to CIN3 (most serious), the vast majority of which resolve

on their own without intervention. CIN2 and CIN3 were the primary surrogate endpoints studied.

Likewise, the clinical trials from Gardasil did not examine Gardasil’s potential to prevent anal

cancer, rather, the trials similarly only look at anal intraepithelial neoplasia (“AIN”) lesions graded

1 through 3, and the Gardasil 9 studies did not even include any studies concerning the efficacy of

Gardasil in preventing anal lesions.

       57.     According to the FDA, whether a condition is “serious” depends on such factors as

“survival, day-to-day functioning, or the likelihood that the condition, if left untreated, will

progress from a less severe condition to a more serious one.”

       58.     As previously discussed, over 90 percent of HPV infections and the majority of

cervical dysplasia, resolve without intervention.

       59.     However, Merck presented misleading data to the FDA suggesting that CIN2 and

CIN3 inexorably result in cancer.

       60.     Federal law allows fast-track approval when there is no existing intervention to treat

the targeted disease or where the proposed treatment is potentially superior to an existing

treatment.

       61.     Merck knows (and knew) that Gardasil and Gardasil 9 are far less effective than

Pap tests in preventing cervical cancer.

       62.     In order to obtain FDA approval, Merck designed and conducted a series of

fraudulent Gardasil studies and then influenced the votes of the FDA’s Vaccines and Related

Biological Products Advisory Committee (“VRBPAC”) and the CDC’s Advisory Committee on




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Immunization Practices (“ACIP”) to win both an FDA license and a CDC/ACIP approval and

recommendation that all 11- and 12-year-old girls should be vaccinated with Gardasil.

       63.      That ACIP “recommendation” was, effectively, a mandate to doctors to sell

Merck’s very expensive vaccine, thereby compelling parents of American children as young as

nine years old to buy this expensive product.        With ACIP’s recommendation, Merck was

emboldened to build demand through direct-to-consumer advertising and door-to-door marketing

to doctors, and, with the ACIP’s blessing of the vaccine, circumvented the need to create a

traditional market for the product.

       64.      Julie Gerberding, then the Director of CDC, obligingly ushered the Gardasil

vaccine through CDC’s regulatory process manifestly ignoring clear evidence that Gardasil’s

efficacy was unproven and that the vaccine was potentially dangerous.

       65.      Merck, shortly thereafter, rewarded Gerberding by naming her President of Merck

Vaccines in 2010.

       66.      In addition to the revolving regulatory/industry door, (wherein the Director of CDC

who approved the vaccine is subsequently employed by the manufacturer as a high-level executive

to oversee the commercial success of the vaccine she previously approved), it is also worth noting

some of the other conflicts of interest that exist within governmental agencies in relation to the

facts surrounding Gardasil. Scientists from the National Institute of Health (“NIH”), which is a

division of the United States Department of Health and Human Services (“HHS”), discovered a

method of producing “virus-like-particles” (“VLPs”) that made creation of the Gardasil vaccine

possible.    The NIH scientists’ method of producing VLPs was patented by the Office of

Technology Transfer (“OTT”), which is part of the NIH, and the licensing rights were sold to

Merck (for manufacture of Gardasil). Not only does the NIH (and, in effect, the HHS) receive



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royalties from sales of Gardasil, but the scientists whose names appear on the vaccine patents can

receive up to $150,000 per year (in perpetuity). Accordingly, the Gardasil patents have earned

HHS, NIH and the scientists who invented the technology millions of dollars in revenue.

        67.    Moreover, members of ACIP have been allowed to vote on vaccine

recommendations even if they have financial ties to drug companies developing similar vaccines.

According to a 2000 U.S. House of Representatives investigation report, the majority of the CDC’s

eight ACIP committee members had conflicts of interest. The Chairman of ACIP served on

Merck’s Immunization Advisory Board and a number of the other ACIP members had received

grants, salaries, or other forms of remuneration from Merck.

C.      Merck Engaged in Disease Mongering and False Advertising to Enhance Gardasil

Sales

        68.    Both prior to and after the approval of Gardasil, Merck engaged in unscrupulous

marketing tactics designed to overemphasize both the risks associated with HPV and the purported

efficacy of Gardasil to scare the public into agreeing to mass vaccinations using the Gardasil

vaccine.

        69.    Prior to Merck’s aggressive marketing campaign, there was no HPV public health

emergency in high-resource countries, such as the United States.

        70.    Most women had never heard of HPV. The NCI’s 2005 Health Information

National Trends Survey (“HINTS”) found that, among U.S. women 18 to 75 years old, only 40

percent had heard of HPV. Among those who had heard of HPV, less than half knew of an

association between HPV and cervical cancer. Furthermore, only four percent knew that the vast

majority of HPV infections resolve without treatment.




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          71.   The stage was set for Merck to “educate” the public about HPV, cervical cancer,

and Gardasil, all to Merck’s advantage.

          72.   Merck preceded its rollout of Gardasil with years of expensive disease awareness

marketing. Merck ran “Tell Someone” commercials, designed to strike fear in people about HPV

and cervical cancer – even ominously warning that you could have HPV and not know it. The

commercials could not mention Gardasil, which had not yet been approved by FDA, but did

include Merck’s logo and name. Critics of Merck’s pre-approval advertising and promotion called

it “deceptive and dishonest.” While Merck claims the promotion was part of public health

education, critics complained that this “education” was designed to sell Gardasil and build the

market for the vaccine. See Angela Zimm and Justin Blum, Merck Promotes Cervical Cancer

Shot by Publicizing Viral Cause, BLOOMBERG NEWS, May 26, 2006.

          73.   A year before obtaining licensing for its vaccine, Merck engaged in a major

offensive in “disease branding” to create a market for its vaccine out of thin air. See Beth

Herskovits,     Brand      of    the      Year,    PHARMEXEC.COM,        February    1,    2007.

http://www.pharmexec.com/brand-year-0

          74.   Merck also engaged in a relentless propaganda campaign aimed at frightening and

guilting parents who failed to inoculate their children with Gardasil.

          75.   In addition to paid advertising, Merck worked with third parties to “seed” an

obliging media with terrifying stories about cervical cancer in preparation for Merck’s Gardasil

launch.

          76.   Prior to the FDA’s 2006 approval of Gardasil, the mainstream media – under

direction of Merck and its agents – dutifully reported alarming cervical cancer stories,

accompanied by the promotion of an auspicious vaccine.



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        77.       Merck intended its campaign to create fear and panic and a public consensus that

“good mothers vaccinate” their children with Gardasil. According to Merck propagandists, the

only choice was to “get the vaccine immediately” or “risk cervical or anal cancer.”

        78.       Merck aggressively and fraudulently concealed the risks of the vaccine in broadcast

materials and in propaganda that it disseminated in the United States.

        79.       Merck sold and falsely promoted Gardasil knowing that, if consumers were fully

informed about Gardasil’s risks and dubious benefits, almost no one would have chosen to

vaccinate.

        80.       Merck negligently and fraudulently deprived parents and children of their right to

informed consent.

        81.       One of Merck’s television campaigns, conducted in 2016, shamelessly used child

actors and actresses, implicitly dying of cancer, looking straight into the camera and asking their

parents whether or not they knew that the HPV vaccine could have protected them against the HPV

virus that caused them to develop their cancers. Each actor asked the following question: “Did

you   know?          Mom?        Dad?”    See   “Mom,     Dad,   did   you   know?”     commercial:

https://www.ispot.tv/ad/Ap1V/know-hpv-hpv-vaccination. Merck spent $41 million over two

months on the campaign. The ads said nothing about potential side effects. Merck also distributed

pamphlets via U.S. mail to doctors ahead of the ad’s release to encourage them to share it with

their patients:




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       82.     Merck’s fraudulent message was that cervical cancer and anal cancer were real-life

killers of young men and women, notwithstanding the fact that the average age for development

of cervical cancer is 50 years old, average age of development of anal cancer is 60 years old, and

that the cancer is virtually nonexistent in men and women under 20.

       83.     Other television marketing campaigns Merck launched falsely proclaimed that

Gardasil was a “cervical cancer vaccine” and that any young girl vaccinated with Gardasil would

become “one less” woman with cervical cancer. The “One Less” marketing campaign portrayed

Gardasil as if there were no question as to the vaccine’s efficacy in preventing cervical cancer, and

it disclosed none of Gardasil’s side effects.



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       84.     Merck marketed Gardasil with an intensely aggressive campaign, spending more

on Gardasil advertising than any previous vaccine advertising campaign.


D.     Merck Used Scare Tactics and Provided Financial Incentives to Legislatures to

Attempt to make the Gardasil Vaccine Mandatory for All School Children

       85.     An ACIP recommendation of a vaccine, adopted by individual states, opens the

door to mandates affecting as many as four million children annually.

       86.     With Gardasil costing $360 for the original three-dose series (exclusive of the

necessary doctor’s visits) and Gardasil 9 now priced at $450 for two doses (again, not including

the cost of doctor’s visits), Merck stood to earn billions of dollars per year, in the US alone, with

little marketing costs.

       87.     Prior to Gardasil’s approval in 2006, Merck was already targeting political figures

to aid in the passage of mandatory vaccination laws.

       88.     As early as 2004, a group called Women in Government (“WIG”) started receiving

funding from Merck and other drug manufacturers who had a financial interest in the vaccine.

       89.     With the help of WIG, Merck aggressively lobbied legislators to mandate Gardasil

to all sixth-grade girls. See Michelle Mello et al., Pharmaceutical Companies’ Role in State

Vaccination Policymaking: The Case of Human Papillomavirus Vaccination, 102 AMERICAN J

PUBLIC HEALTH 893 (May 2012).

       90.     In 2006, Democratic Assembly leader Sally Lieber of California introduced a bill

that would require all girls entering sixth grade to receive the Gardasil vaccination. Lieber later

dropped the bill after it was revealed there was a possible financial conflict of interest.

       91.     Prior to the introduction of the bill, Lieber met with WIG representatives. In an

interview, the President of WIG, Susan Crosby, confirmed that WIG funders have direct access to


                                                  19
state legislators, in part through the organization’s Legislative Business Roundtable, of which WIG

funders are a part. See Judith Siers-Poisson, The Gardasil Sell Job, in CENSORED 2009: THE TOP

25 CENSORED STORIES OF 2007-08, 246 (Peter Philips ed. 2011).

        92.    Dr. Diane Harper, a medical doctor and scientist who was hired as a principal

investigator on clinical trials for Gardasil gave an interview for an article on the HPV vaccines and

WIG in 2007. Harper, who had been a major presenter at a WIG meeting in 2005, stated that “the

Merck representative to WIG was strongly supporting the concept of mandates later in the WIG

meetings and providing verbiage on which the legislators could base their proposals.”

        93.    WIG was one of dozens of “pay to play” lobby groups that Merck mobilized to

push HPV vaccine mandates.

        94.    Another group, the National Association of County and City Health Officials

(NACCHO), was also pushing HPV vaccine mandates in all 50 states.

        95.    To that end, Merck made large contributions to political campaigns and legislative

organizations. By February 2007, 24 states and the District of Columbia had introduced mandate

legislation.

        96.    Several states passed laws allowing preteen children as young as age 12 to

“consent” to vaccination with an HPV vaccine without parental consent or knowledge.

        97.    One New York state county offered children free headphones and speakers to

encourage them to consent to the Gardasil vaccine. See Mary Holland et al., THE HPV VACCINE

ON TRIAL: SEEKING JUSTICE FOR A GENERATION BETRAYED 131 (2018).

        98.    Merck funneled almost $92 million to Maryland’s Department of Health between

2012 and 2018 to promote Gardasil in Maryland schools, in a fraudulent campaign that paid school

officials and sought to deceive children and parents into believing Gardasil was mandatary for



                                                 20
school attendance. Josh Mazer, Maryland should be upfront about HPV vaccinations for children,

CAPITAL GAZETTE, August 14, 2018, at https://www.capitalgazette.com/opinion/columns/ac-ce-

column-mazer-20180814-story.html.

E.     Merck Pushed Gardasil Using Trusted Doctors and Third-Party Front Groups

       99.     In order to mobilize “third-party credibility” to push Gardasil, Merck gave massive

donations to dozens of nonprofit groups to “educate” the public via “education grants.” For

example, a disclaimer on American College of Obstetricians and Gynecologists’ Immunization for

Women website stated that “[t]his website is supported by an independent educational grant from

Merck and Sanofi Pasteur US.”

       100.    Merck offered influential doctors (also known as “key opinion leaders”) $4,500 for

every Gardasil lecture they gave.

       101.    Among the allegedly independent organizations Merck recruited to push Gardasil

were the Immunization Coalition, the Allegheny County Board of Health, the Eye and Ear

Foundation, the Jewish Healthcare Foundation, the American Dental Association, the American

College of Obstetricians and Gynecologists, and the American Cancer Society.

F.     Merck Has Systematically Misrepresented the Efficacy of Gardasil by Advertising

that Gardasil Prevents Cervical Cancer When There Are No Clinical Studies to Support This

False Claim

       102.    Merck faced a daunting problem in convincing regulators, doctors, and the public

to accept the Gardasil vaccine.

       103.    Merck recommends the vaccine for children aged 11 to 12 years old, to provide

protection against a disease that, in the United States, is not generally diagnosed until a median

age of 50. Moreover, in those rare instances of death, the median age is 58.



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       104.    There are no studies proving that Gardasil prevents cancer.

       105.    Because it can take decades for a persistent HPV infection to proceed to

development of cervical or anal cancer, and because cervical and anal cancers are so rare, a true

efficacy study would require decades and likely hundreds of thousand – if not millions – of trial

participants to demonstrate that eliminating certain HPV infections would actually prevent the

development of cervical and anal cancer.

       106.    Merck did not want to invest the time or money necessary to perform testing that

would prove that its vaccine actually worked to prevent cervical and anal cancer.

       107.    Instead, Merck persuaded regulators to allow it to use “surrogate endpoints” to

support its theory that the HPV vaccines would be effective in preventing cervical and anal cancer.

       108.    The clinical trials therefore did not test whether HPV vaccines prevent cervical,

anal or other cancers. Instead, Merck tested the vaccines against development of certain cervical

lesions, which some researchers suspect are precursors to cancer, although the majority of these

lesions – even the most serious – regress on their own. See, e.g., Jin Yingji et al., Use of

Autoantibodies Against Tumor-Associated Antigens as Serum Biomarkers for Primary Screening

of Cervical Cancer, 8 ONCOTARGET 105425 (Dec. 1, 2017); Philip Castle et al., Impact of

Improved Classification on the Association of Human Papillomavirus With Cervical Precancer,

171 AMERICAN JOURNAL OF EPIDEMIOLOGY 161 (Dec. 10, 2009); Karoliina Tainio et al., Clinical

Course of Untreated Cervical Intraepithelial Neoplasia Grade 2 Under Active Surveillance:

Systematic Review and Meta-Analysis, 360 BRIT. MED. J. k499 (Jan. 16, 2018).

       109.    The Department of Health and Human Services (HHS), which oversees the FDA,

and which also stood to make millions of dollars on the vaccine from patent royalties, allowed the

use of Merck’s proposed surrogate endpoints.



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       110.    The surrogate endpoints chosen by Merck to test the efficacy of its HPV vaccine

were cervical and anal intraepithelial neoplasia (CIN) grades 2 and 3 and adenocarcinoma in situ.

       111.    Merck used these surrogate endpoints even though it knew that these precursor

lesions are common in young women under 25 and rarely progress to cancer.

       112.    At the time FDA approved the vaccine, Merck’s research showed only that Gardasil

prevented certain lesions (the vast majority of which would have resolved on their own without

intervention) and genital warts – not cancer itself, and only for a few years at that.

       113.    The use of these surrogate endpoints allowed Merck to shorten the clinical trials to

a few years and gain regulatory approvals of the vaccines without any evidence the vaccines would

prevent cancer in the long run.

       114.    Merck’s advertisements assert that the HPV vaccine prevents cervical cancer. For

example, in a presentation to medical doctors, Merck proclaimed: “Every year that increases in

coverage [of the vaccine] are delayed, another 4,400 women will go on to develop cervical cancer.”

The presentation goes on to tell doctors that women who do not get the vaccine will go on to

develop cancer.

       115.    Merck’s foundational theory that HPV alone causes cervical and anal cancer, while

dogmatically asserted, is not proven.

       116.    Research indicates that cervical and anal cancer is a multi-factor disease with

persistent HPV infections seeming to play a role, along with many other environmental and genetic

factors, including smoking cigarettes or exposure to other toxic smoke sources, long-term use of

oral contraceptives, nutritional deficiencies, multiple births (especially beginning at an early age),

obesity, inflammation, and other factors. Not all cervical and anal cancer is associated with HPV

types in the vaccines and not all cervical and anal cancer is associated with HPV at all.



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        117.   Despite the lack of proof, Merck claimed that Gardasil could eliminate cervical and

anal cancer and other HPV-associated cancers.

        118.   However, Merck knows that the Gardasil vaccines cannot eliminate all cervical and

anal cancer or any other cancer that may be associated with HPV.

        119.   Even assuming the Gardasil vaccine is effective in preventing infection from the

four to nine vaccine-targeted HPV types, the results may be short term, not guaranteed, and ignore

the 200 or more other types of HPV not targeted by the vaccine, and some of which already have

been associated with cancer.

        120.   Even assuming these vaccine-targets are the types solely responsible for 100

percent of cervical and anal cancer – which they are not – the vaccines have not been followed

long enough to prove that Gardasil protects girls and boys from cancer that would strike them 40

years later.

        121.   Under Merck’s hypothetical theory, the reduction of pre-cancerous lesions should

translate to fewer cases of cervical and anal cancer in 30 to 40 years.

        122.   Cervical and anal cancer take decades to develop and there are no studies that prove

the Gardasil vaccines prevent cancer.

        123.   In January 2020, a study from the UK raised doubts about the validity of the clinical

trials in determining the vaccine’s potential to prevent cervical cancer. The analysis, carried out

by researchers at Newcastle University and Queen Mary University of London, revealed many

methodological problems in the design of the Phase 2 and 3 trials, leading to uncertainty regarding

understanding the effectiveness of HPV vaccination. See Claire Rees et al., Will HPV Vaccine

Prevent Cancer? J. OF THE ROYAL SOC. OF MED. 1-15 (2020).




                                                 24
        124.    As Dr. Tom Jefferson of the Centre for Evidence-Based Medicine pointed out: “The

reason for choosing vaccination against HPV was to prevent cancer but there’s no clinical evidence

to prove it will do that.”

        125.    Gardasil has never been proven to prevent cervical or any other kind of cancer.

        126.    Yet Merck has marketed the Gardasil vaccines as if there is no question regarding

their efficacy at preventing cervical and anal cancer. In reality, they are at best protective against

only four to nine of the over 200 strains of the human papillomavirus.

G.      The Gardasil Vaccines Contain Numerous Hazardous Ingredients, Including At

Least One Ingredient Merck Failed to Disclose to Regulators and the Public

                             i.   Gardasil Contains a Toxic Aluminum Adjuvant

        127.    To stimulate an enhanced immune response that allegedly might possibly last for

50 years, Merck added to the Gardasil vaccine a particularly toxic aluminum-containing adjuvant

– Amorphous Aluminum Hydroxyphosphate Sulfate (“AAHS”).

        128.    Aluminum is a potent neurotoxin that can result in very serious harm.

        129.    The original Gardasil vaccine contains 225 micrograms of AAHS and Gardasil 9

contains 500 micrograms of AAHS.

        130.    Federal law requires that manufacturers cannot add adjuvants to vaccines that have

not been proven safe. 21 C.F.R. § 610.15(a).

        131.    AAHS has never been proven safe. AAHS is a recent proprietary blend of

aluminum and other unknown ingredients developed by Merck and used in Merck vaccines,

including Gardasil. Prior vaccines have used a different aluminum formulation.

        132.    Peer-reviewed studies show that aluminum binds to non-vaccine proteins, including

the host’s own proteins, or to latent viruses, triggering autoimmune and other serious conditions.



                                                 25
See Darja Kanduc, Peptide Cross-reactivity: The Original Sin of Vaccines, 4 FRONTIERS           IN

BIOSCIENCE 1393 (June 2012).

       133.    Aluminum, including AAHS, has been linked to scores of systemic side effects

including, but not limited to: impairing cognitive and motor function; inducing autoimmune

interactions; increasing blood brain barrier permeability; inducing macrophagic myofasciitis in

muscle; blocking neuronal signaling; interrupting cell-to-cell communications; corrupting

neuronal-glial interactions; interfering with synaptic transmissions; altering enzyme function;

impairing protein function; fostering development of abnormal tau proteins; and altering DNA.

                         ii.   Merck Lied About a Secret DNA Adjuvant Contained in The

                               Gardasil Vaccines

       134.    Merck has repeatedly concealed or incorrectly identified Gardasil ingredients to the

FDA and the public.

       135.    Merck lied both to the FDA and the public about including a secret and potentially

hazardous ingredient, HPV LI-DNA fragments, in Gardasil. These DNA fragments could act as a

Toll-Like Receptor 9 (“TLR9”) agonist – further adjuvanting the vaccine and making it more

potent. Merck used this hidden adjuvant to prolong the immunological effects of the vaccine, but

illegally omitted it from its list of substances and ingredients in the vaccine.

       136.    Dr. Sin Hang Lee has opined that, without adding the TLR9 agonist, Gardasil would

not be immunogenic. The DNA fragments bound to the AAHS nanoparticles act as the TLR9

agonist in both Gardasil and Gardasil 9 vaccines, creating the strongest immune-boosting adjuvant

in use in any vaccine.




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       137.    On multiple occasions, Merck falsely represented to the FDA and others, including

regulators in other countries, that the Gardasil vaccine did not contain viral DNA, ignoring the

DNA fragments.

       138.    This DNA adjuvant is not approved by the FDA and Merck does not list it among

the ingredients as federal law requires. See 21 C.F.R. § 610.61(o) (requiring that adjuvants be

listed on biologics’ labeling). Even if not an adjuvant, the DNA fragments should have been listed

because they represent a safety issue. 21 C.F.R. §610.61(n).

       139.    It is unlawful for vaccine manufacturers to use an experimental and undisclosed

adjuvant.

       140.    When independent scientists found DNA fragments in every Gardasil vial tested,

from all over the world, Merck at first denied, and then finally admitted, the vaccine does indeed

include HPV L1-DNA fragments.

       141.    Tellingly, Merck entered into a business arrangement with Idera Pharmaceuticals

in 2006 to explore DNA adjuvants to further develop and commercialize Idera’s toll-like receptors

in Merck’s vaccine program.

       142.    To this day, the Gardasil package inserts do not disclose that DNA fragments

remain in the vaccine.

       143.    Dr. Lee also found HPV DNA fragments from the Gardasil vaccine in post-mortem

spleen and blood samples taken from a young girl who died following administration of the

vaccine. See Sin Hang Lee, Detection of Human Papillomavirus L1 Gene DNA Fragments in

Postmortem Blood and Spleen After Gardasil Vaccination—A Case Report, 3 ADVANCES               IN

BIOSCIENCE AND BIOTECHNOLOGY 1214 (December 2018).

       144.    Those fragments appear to have played a role in the teenager’s death.



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       145.    The scientific literature suggests there are grave and little-understood risks

attendant to injecting DNA into the human body.

                           iii.   Gardasil Contains Borax

       146.    Gardasil contains sodium borate (borax). Borax is a toxic chemical and may have

long-term toxic effects.

       147.    Merck has performed no studies to determine the impact of injecting borax into

millions of young children or adults.

       148.    Sodium borate is known to have adverse effects on male reproductive systems in

rats, mice, and dogs. Furthermore, borax causes increased fetal deaths, decreased fetal weight,

and increased fetal malformations in rats, mice, and rabbits.

       149.    The European Chemical Agency requires a “DANGER!” warning on borax and

states that borax “may damage fertility or the unborn child.”

       150.    The Material Safety Data Sheet (“MSDS”) for sodium borate states that sodium

borate “[m]ay cause adverse reproductive effects” in humans.

       151.    The FDA has banned borax as a food additive in the United States, and yet allows

Merck to use it in the Gardasil vaccine without any proof of safety.

                           iv.    Gardasil Contains Polysorbate 80

       152.    Gardasil contains Polysorbate 80.

       153.    Polysorbate 80 crosses the blood-brain barrier.

       154.    Polysorbate 80 is used in drugs to open up the blood brain barrier in order to allow

the active ingredients in a drug to reach the brain and to elicit the intended response. It acts as an

emulsifier for molecules like AAHS and aluminum, enabling those molecules to pass through

resistive cell membranes.



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         155.   Polysorbate 80 is associated with many health injuries, including, anaphylaxis,

infertility, and cardiac arrest.

         156.   Polysorbate 80 was implicated as a cause, possibly with other components, of

anaphylaxis in Gardasil recipients in a study in Australia. See Julia Brotherton et al., Anaphylaxis

Following Quadrivalent Human Papillomavirus Vaccination, 179 CANADIAN MEDICAL ASSOC. J.

525 (September 9, 2008).

         157.   Merck never tested Polysorbate 80 for safety in vaccines.

                          v.       Gardasil Contains Genetically Modified Yeast

         158.   Gardasil contains genetically modified yeast.

         159.   Studies have linked yeast with autoimmune conditions. See, e.g., Maurizo Rinaldi

et al., Anti-Saccharomyces Cerevisiae Autoantibodies in Autoimmune Diseases: from Bread

Baking to Autoimmunity, 45 CLINICAL REVIEWS            IN   ALLERGY   AND IMMUNOLOGY   152 (October

2013).

         160.   Study participants with yeast allergies were excluded from Gardasil clinical trials.

         161.   Merck has performed no studies to determine the safety of injecting yeast into

millions of children and young adults.

H.       As it Did in Vioxx, In Designing and Conducting Its Clinical Trials for Gardasil,

Merck Concealed Risks to Falsely Enhance the Safety Profile of Gardasil

         162.   Merck engaged in wholesale fraud during its safety and efficacy clinical studies.

         163.   In order to obtain its Gardasil license, Merck designed its studies purposefully to

conceal adverse events and exaggerate efficacy.

         164.   Merck sold Gardasil to the public falsely claiming that pre-licensing safety tests

proved it to be effective and safe.



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         165.   In fact, Merck’s own pre-licensing studies showed Gardasil to be of doubtful

efficacy and dangerous.

         166.   The dishonesty in the clinical tests has led many physicians to recommend the

vaccination, under false assumptions.

         167.   The clinical trials clearly demonstrated that the risks of both Gardasil and Gardasil

9 vastly outweigh any proven or theoretical benefits.

         168.   Merck deliberately designed the Gardasil protocols to conceal evidence of chronic

conditions such as autoimmune diseases, menstrual cycle problems, and death associated with the

vaccine during the clinical studies.

         169.   Merck employed deceptive means to cover up injuries that study group participants

suffered.

         170.   In early 2018, Lars Jørgensen, M.D., Ph.D. and Professor Peter Gøtzsche, M.D.

(then with the Nordic Cochrane Centre), and Professor Tom Jefferson, M.D., of the Centre for

Evidence-Based Medicine, published a study indexing all known industry and non-industry HPV

vaccine clinical trials and were disturbed to find that regulators such as the FDA and EMA

(European Medicines Agency) assessed as little as half of all available clinical trial results when

approving the HPV vaccines. Lars Jørgensen et al., Index of the Human Papillomavirus (HPV)

Vaccine Industry Clinical Study Programmers and Non-Industry Funded Studies: a Necessary

Basis to Address Reporting Bias in a Systematic Review, 7 SYSTEMATIC REVIEWS (January 18,

2018).

         171.   Per the indexing study discussed above, Merck appears to have kept a number of

its clinical trial results secret. Moreover, it appears that Merck reported only those findings that

support its own agenda.



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       172.    Three separate reviews of the Gardasil vaccine by the Cochrane Collaboration

found that the trial data were “largely inadequate.”

       173.    According to Dr. Tom Jefferson, “HPV [vaccine] harms have not been properly

studied.”

       174.    In 2019, numerous medical professionals published an article in the British Medical

Journal outlining the flaws and incomplete nature of the publications discussing Merck’s Gardasil

clinical trials. The authors issued a “call to action” for independent researchers to reanalyze or

“restore the reporting of multiple trials in Merck’s clinical development program for quadrivalent

human papillomavirus (HPV) vaccine (Gardasil) vaccine.” Peter Doshi et al., Call to Action: RIAT

Restoration of Previously Unpublished Methodology in Gardasil Vaccine Trials, 346 BRIT. MED.

J. 2865 (2019). The authors explained that the highly influential publications of these studies,

which formed the basis of Gardasil’s FDA approval, “incompletely reported important

methodological details and inaccurately describe the formulation that the control arm received,

necessitating correction of the record.” Id. The authors explained that, while the publications

claimed the clinical trials of Gardasil were “placebo-controlled,” “participants in the control arm

of these trials did not receive an inert substance, such as saline injection. Instead, they received

an injection containing [AAHS], a proprietary adjuvant system that is used in Gardasil to boost

immune response.” Id.

       175.    The researchers further opined that “the choice of AAHS-containing controls

complicates the interpretation of efficacy and safety results in trials.… We consider the omission

in journal articles, of any rationale for the selection of AAHS-containing control, to be a form of

incomplete reporting (of important methodological details) and believe the rationale must be

reported. We also consider that use of the term ‘placebo’ to describe an active comparator like



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AAHS inaccurately describes the formulation that the control arm received, and constitutes an

important error that requires correction.” Id.

       176.    The authors pointed out that Merck’s conduct “raises ethical questions about trial

conduct as well” and that they and other scientists would need to review the Gardasil clinical trial

raw data, in order to be able to analyze the safety and adverse event profile of Gardasil

meaningfully and independently. Id.

                          i.   Small Clinical Trials

       177.    Although nine to 12-year-olds are the primary target population for HPV vaccines,

Merck used only a small percentage of this age group in the clinical trials. Protocol 018 was the

only protocol comparing children receiving a vaccine to those who did not. In that study, Merck

looked at results of fewer than 1,000 children 12 and younger for a vaccine targeting billions of

boys and girls in that age group over time. In Protocol 018, 364 girls and 332 boys (696 children)

were in the vaccine cohort, while 199 girls and 173 boys (372 children) received a non-aluminum

control.

       178.    The small size of this trial means that it was incapable of ascertaining all injuries

that could occur as a result of the vaccine.

                         ii.   Merck Used a Highly Toxic “Placebo” to Mask Gardasil

                               Injuries

       179.    Instead of comparing health outcomes among volunteers in the Gardasil study

group to health outcomes among volunteers receiving an inert placebo, Merck purposefully used

a highly toxic placebo as a control in order to conceal Gardasil’s risks in all trials using

comparators with the exception of Protocol 018, where only 372 children received a non-saline

placebo containing everything in the vaccine except the adjuvant and antigen.



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       180.      Comparing a new product against an inactive placebo provides an accurate picture

of the product’s effects, both good and bad. The World Health Organization (“WHO”) recognizes

that using a toxic comparator as a control (as Merck did here) creates a “methodological

disadvantage.” WHO states that “it may be difficult or impossible to assess the safety” of a vaccine

when there is no true placebo.

       181.      Merck deliberately used toxic “placebos” in the control group, in order to mask

harms caused by Gardasil to the study group.

       182.      Instead of testing Gardasil against a control with a true inert placebo, Merck tested

its vaccine in almost all clinical trials against its highly neurotoxic aluminum adjuvant, AAHS.

       183.      Merck gave neurotoxic aluminum injections to approximately 10,000 girls and

young women participating in Gardasil trials, to conceal the dangers of Gardasil vaccines.

       184.      Merck never safety tested AAHS before injecting it into thousands of girls and

young women in the control groups and the girls and young women were not told they could

receive an aluminum “placebo.” Merck told the girls that they would receive either the vaccine or

a safe inert placebo.

       185.      Merck violated rules and procedures governing clinical trials when it lied to the

clinical study volunteers, telling them that the placebo was an inert saline solution – when in reality

the placebo contained the highly neurotoxic aluminum adjuvant AAHS.

       186.      AAHS provoked terrible injuries and deaths in a number of the study participants

when Merck illegally dosed the control group volunteers with AAHS.

       187.      Since the injuries in the Gardasil group were replicated in the AAHS control group,

this scheme allowed Merck to falsely conclude that Gardasil’s safety profile was comparable to

the “placebo.”



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           188.   The scheme worked and enabled Merck to secure FDA licensing.

           189.   Merck lied to the FDA when it told public health officials that it had used a saline

placebo in Protocol 018.

           190.   There was no legitimate public health rationale for Merck’s failure to use a true

saline placebo control in the original Gardasil clinical trials. At that time, no other vaccine was

yet licensed for the four HPV strains Gardasil was intended to prevent.

           191.   A small handful of girls in a subsequent Gardasil 9 trial group, may have received

the saline placebo, but only after they had already received three doses of Gardasil for the Gardasil

9 trial.

                          iii.   Merck Used Exclusionary Criteria to Further Conceal Gardasil

                                 Risks

           192.   Merck also manipulated the Gardasil studies by excluding nearly half of the original

recruits to avoid revealing the effects of the vaccine on vulnerable populations.

           193.   After recruiting thousands of volunteers to its study, Merck excluded all women

who had admitted to vulnerabilities that might be aggravated by the vaccine, such as abnormal Pap

tests or a history of immunological or nervous system disorders.

           194.   Women could also be excluded for “[a]ny condition which in the opinion of the

investigator might interfere with the evaluation of the study objectives.”

           195.   Merck’s protocol had exclusion criteria for subjects with allergies to vaccine

ingredients including aluminum (AAHS), yeast, and the select enzymes. For most of these

ingredients, there are limited resources for the public to test for such allergies in advance of being

vaccinated.




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       196.    Merck excluded anyone with serious medical conditions from the Gardasil clinical

trials, even though CDC recommends the Gardasil vaccine for everyone, regardless of whether or

not they suffer from a serious medical condition.

       197.    Merck sought to exclude from the study all subjects who might be part of any

subgroup that would suffer injuries or adverse reactions to any of Gardasil’s ingredients.

       198.    The study exclusion criteria are not listed as warnings on the package inserts and

the package insert for Gardasil only mentions an allergy to yeast or to a previous dose of Gardasil

as a contraindication, rather than an allergy to any other component. Nonetheless, for most of the

ingredients, it is almost impossible to determine if such an allergy exists prior to being vaccinated

and Merck does not recommend allergy testing before administering the vaccine.

       199.    Instead of testing the vaccine on a population representative of the cross-section of

humans who would receive the approved vaccine, Merck selected robust, super-healthy trial

participants, who did not reflect the general population, in order to mask injurious effects on all

the vulnerable subgroups that now receive the vaccine. Therefore, the population tested in the

clinical trials was a much less vulnerable population than the population now receiving Gardasil.

                        iv.    Merck Deceived Regulators and The Public by Classifying

                               Many Serious Adverse Events, Which Afflicted Nearly Half of

                               All Study Participants, As Coincidences

       200.    Because Merck did not use a true placebo, determining which injuries were

attributable to the vaccine and which were attributable to unfortunate coincidence was entirely

within the discretion of Merck’s paid researchers.

       201.    In order to cover up and conceal injuries from its experimental vaccine, Merck,

during the Gardasil trials, employed a metric, “new medical conditions,” that allowed the company



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to dismiss and fraudulently conceal infections, reproductive disorders, neurological symptoms,

and autoimmune conditions, which affected a troubling 50 percent of all clinical trial participants.

       202.    Merck’s researchers systematically dismissed reports of serious adverse events

from 49 percent of trial participants in order to mask the dangers of the vaccine.

       203.    Instead of reporting these injuries as “adverse events,” Merck dismissed practically

all of these illnesses and injuries as unrelated to the vaccine by classifying them under its trashcan

metric “new medical conditions,” a scheme Merck could get away with only because it used a

“spiked” (poisonous) placebo, that was yielding injuries at comparable rates.

       204.    Merck’s use of a toxic placebo allowed the company to conceal from the public an

epidemic of autoimmune diseases and other injuries and deaths associated with its multi-billion-

dollar HPV vaccine.

       205.    Because Merck conducted its studies without a true placebo, Merck investigators

had wide discretion to decide what constituted an adverse event and used that power to dismiss a

wave of grave vaccine injuries, injuries that sickened half of the trial volunteers, as coincidental.

       206.    Almost half (49 percent) of all trial participants, regardless of whether they received

the vaccine or Merck’s toxic placebo, reported adverse events, including serious illnesses such as

blood, lymphatic, cardiac, gastrointestinal, immune, musculoskeletal, reproductive, neurological

and psychological conditions, chronic illnesses such as thyroiditis, arthritis and multiple sclerosis,

and conditions requiring surgeries. See, e.g., Nancy B. Miller, Clinical Review of Biologics

License Application for Human Papillomavirus 6, 11, 16, 18 L1 Virus Like Particle Vaccine (S.

cerevisiae) (STN 125126 GARDASIL), manufactured by Merck, Inc. at 393-94 (Table 302) (June

8, 2006).




                                                 36
                         v.     Merck Manipulated the Study Protocols to Block Participants

                                and Researchers from Reporting Injuries and Designed the

                                Studies to Mask Any Long-Term Adverse Events

        207.   Merck adopted multiple strategies to discourage test subjects from reporting

injuries.

        208.   Merck provided Vaccination Report Cards to a limited number of trial participants.

For example, in Protocol 015, only approximately 10 percent of participants – all in the United

States, despite trial sites worldwide – received Vaccination Report Cards to memorialize reactions

in the first few days following injections.

        209.   Furthermore, the report cards only included categories of “Approved Injuries”

mainly jab site reactions (burning, itching, redness, bruising) leaving no room to report more

serious unexplained injuries such as autoimmune diseases. In fact, they were designed for the

purposes of reporting non-serious reactions only.

        210.   Furthermore, Merck instructed those participants to record information for only 14

days following the injection.

        211.   In this way, Merck foreclosed reporting injuries with longer incubation periods or

delayed diagnostic horizons.

        212.   Abbreviated reporting periods were part of Merck’s deliberate scheme to conceal

chronic conditions such as autoimmune or menstrual cycle problems, and premature ovarian

failure, all of which have been widely associated with the vaccine, but would be unlikely to show

up in the first 14 days following injection.

        213.   Merck researchers did not systematically collect adverse event data, from the trials,

which were spread out over hundreds of test sites all over the world.



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        214.    To conceal the dangerous side effects of its vaccine, Merck purposely did not

follow up with girls who experienced serious adverse events during the Gardasil clinical trials.

        215.    Merck failed to provide the trial subjects a standardized questionnaire checklist of

symptoms, to document a comparison of pre- and post-inoculation symptoms.

        216.    To discourage its clinicians from reporting adverse events, Merck made the

paperwork reporting requirements for supervising clinicians onerous and time-consuming, and

refused to pay investigators additional compensation for filling out the paperwork.

        217.    Thus, Merck disincentivized researchers from reviewing participants’ medical

records even when the participant developed a “serious medical condition that meets the criteria

for serious adverse experiences” as described in the protocol.

        218.    Merck granted extraordinary discretion to its researchers to determine what

constituted a reportable adverse event, while incentivizing them to report nothing and to dismiss

all injuries as unrelated to the vaccine.

        219.    Merck used subpar, subjective data collection methods, relying on participants’

recollections and the biased viewpoints of its trial investigators.

        220.    Merck downplayed the incidence of serious injuries and used statistical gimmickry

to under-report entries.

        221.    During its Gardasil clinical trials, Merck failed to adequately capture and properly

code adverse events and symptoms, including but not limited to adverse events and symptoms that

were indicative of autoimmune or neurological injuries, including but not limited to POTS and

CRPS, so as to prevent the medical community, regulators, and patients from learning about these

adverse events and to avoid the responsibility of having to issue appropriate warnings concerning

these adverse events.



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                        vi.   Merck Deceived Regulators and the Public About Its Pivotal

                              Gardasil Clinical Trial (Protocol 018)

       222.    Merck tested Gardasil and Gardasil 9 in some 50 clinical trials, each one called a

“Protocol.” However, results for many of these studies are not available to the public or even to

the regulators licensing Gardasil. See Lars Jørgensen, et al., Index of the Human Papillomavirus

(HPV) Vaccine Industry Clinical Study Programmers and Non-Industry Funded Studies: a

Necessary Basis to Address Reporting Bias in a Systematic Review, 7 SYSTEMATIC REVIEWS 8

(January 18, 2018).

       223.    Gardasil’s most important clinical trial was Protocol 018. The FDA considered

Protocol 018 the pivotal trial upon which Gardasil licensing approvals hinged, because FDA

believed 1) it was the only trial where Merck used a “true saline placebo,” and 2) it was the only

trial with a comparator group that included girls aged 11 to 12 – the target age for the Gardasil

vaccine. See Transcript of FDA Center For Biologics Evaluation And Research VRBPAC

Meeting, May 18, 2006, at 93 (Dr. Nancy Miller).

       224.    Merck lied to regulators, to the public and to subjects in its clinical trials by

claiming that the Protocol 018 “placebo” group received an actual saline or inert placebo.

       225.    When the FDA approved Gardasil, it described the Protocol 018 control as a “true

saline placebo.”

       226.    The FDA declared that the Protocol 018 trial was “of particular interest” because

Merck used a true saline placebo instead of the adjuvant as a control.

       227.    Merck told regulators that it gave a “saline placebo” to only one small group of

approximately 600 nine to 15-year-old children.




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       228.    In fact, Merck did not give even this modest control group a true saline placebo,

but rather, the group members were given a shot containing “the carrier solution” – a brew of toxic

substances including polysorbate 80, sodium borate (borax), genetically modified yeast, L-

histidine, and possibly a fragmented DNA adjuvant.

       229.    The only components of Gardasil the control group did not receive were the HPV

antigens and the aluminum adjuvant.

       230.    Despite the brew of toxic chemicals in the carrier solution, those children fared

much better than any other study or control group participants, all of whom received the AAHS

aluminum adjuvant.

       231.    Only 29 percent of the vaccinated children and 31 percent of control recipients in

Protocol 018 reported new illnesses from Day 1 through Month 12, compared to an alarming 49.6

percent of those vaccinated and 49 percent of AAHS controls in the “pooled group” (composed of

some 10,000 young women and with the other participants combined) from Day 1 only through

Month 7 (not 12). Because the pooled group also included Protocol 018, even those numbers may

not be accurate with respect to those who received either a vaccine with a full dose of AAHS or

those who received an AAHS control.

       232.    Few of the participants in the Protocol 018 control group got systemic autoimmune

diseases, compared to 2.3 percent (1 in every 43) in the pooled group. In a follow-up clinical

review in 2008, the FDA identified three girls in the carrier-solution group with autoimmune

disease. Based on the number of girls in the placebo group as stated in the original 2006 clinical

review, fewer than 1 percent of girls in the carrier solution group reported autoimmune disease.




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       233.    In order to further deceive the public and regulators, upon information and belief,

Merck cut the dose of aluminum adjuvant in half when it administered the vaccine to the nine to

fifteen-year-old children in its Protocol 018 study group.

       234.    As a result, this group showed significantly lower “new medical conditions”

compared to other protocols.

       235.    Upon information and belief, Merck pretended that the vaccinated children in the

Protocol 018 study group received the full dose adjuvant by obfuscating the change in formulation

in the description.

       236.    Upon information and belief, Merck had cut the adjuvant in half, knowing that this

would artificially and fraudulently lower the number of adverse events and create the illusion that

the vaccine was safe.

       237.    Upon information and belief, Merck lied about this fact to the FDA.

       238.    The data from that study therefore do not support the safety of the Gardasil

formulation since Merck was not testing Gardasil but a far less toxic formulation.

       239.    Upon information and belief, Merck was testing a product with only half the dose

of Gardasil’s most toxic component.

       240.    Upon information and belief, this is blatant scientific fraud, which continues to this

day because this is the study upon which current vaccine safety and long-term efficacy assurances

are based.

       241.    As set forth above, upon information and belief, Merck’s deception served its

purpose: Only 29 percent of the vaccinated children in Protocol 018 reported new illness,

compared to an alarming 49.6 percent in the pooled group to receive the full dose adjuvant in the

vaccine.



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I.     Contrary to Merck’s Representations, Gardasil May Actually Cause and Increase the

Risk of Cervical and Other Cancers

       242.    Gardasil’s label states, “Gardasil has not been evaluated for potential to cause

carcinogenicity or genotoxicity.” The Gardasil 9 label states: “GARDASIL9 has not been

evaluated for the potential to cause carcinogenicity, genotoxicity or impairment of male fertility.

       243.    Peer-reviewed studies, including CDC’s own studies, have suggested that the

suppression of the HPV strains targeted by the Gardasil vaccine may actually open the ecological

niche for replacement by more virulent strains. See Fangjian Guo et al., Comparison of HPV

prevalence between HPV-vaccinated and non-vaccinated young adult women (20–26 years), 11

HUMAN VACCINES & IMMUNOTHERAPEUTICS 2337 (October 2015); Sonja Fischer et al., Shift in

prevalence of HPV types in cervical cytology specimens in the era of HPV vaccinations, 12

ONCOLOGY LETTERS 601 (2016); J. Lyons-Weiler, Biased Cochrane Report Ignores Flaws in HPV

Vaccine Studies, and Studies of HPV Type Replacement, (May 18, 2018). In other words, Gardasil

may increase the chances of getting cancer.

       244.    In short, the Gardasil vaccines, which Merck markets as anti-cancer products, may

themselves cause cancer or mutagenetic changes that can lead to cancer.

       245.    Merck concealed from the public data from its clinical trials indicating that the

vaccines enhance the risk of cervical cancers in many women.

       246.    Merck’s study showed that women exposed to HPV before being vaccinated were

44.6 percent more likely to develop cancerous lesions compared to unvaccinated women, even

within a few years of receiving the vaccine.




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          247.   In other words, Merck’s studies suggest that its HPV vaccines may cause cancer in

women who have previously been exposed to HPV, particularly if they also have a current

infection.

          248.   In some studies, more than 30 percent of girls show evidence of exposure to HPV

before age ten, from casual exposures, unwashed hands, or in the birth canal. Flora Bacopoulou

et al., Genital HPV in Children and Adolescents: Does Sexual Activity Make a Difference?, 29

JOURNAL OF PEDIATRIC & ADOLESCENT GYNECOLOGY 228 (June 2016).

          249.   Even in light of the data demonstrating that Gardasil can increase the risk of cancer

in girls who previously have been exposed to HPV, in order to increase profits, Merck’s Gardasil

labels and promotional material do not inform patients and medical doctors of this important risk

factor.

          250.   Some clinical trial participants have developed cancer, including cervical cancer.

          251.   Numerous women have reported a sudden appearance of exceptionally aggressive

cervical cancers following vaccination.

          252.   Cervical cancer rates are climbing rapidly in all the countries where Gardasil has a

high uptake.

          253.   An Alabama study shows that the counties with the highest Gardasil uptakes also

had the highest cervical cancer rates.

          254.   After the introduction of HPV Vaccine in Britain, cervical cancer rates among

young women aged 25 to 29 has risen 54 percent.

          255.   In Australia, government data reveals there has been a sharp increase in cervical

cancer rates in young women following the implementation of the Gardasil vaccine. The most

recent data reveal that, 13 years after Gardasil was released and pushed upon teenagers and young



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adults, there has been a 16 percent increase in 25- to 29-year-olds and a 30 percent increase in 30

to 34 year-old girls contracting cervical cancer, corroborating the clinical trial data that Gardasil

may increase the risk of cervical cancer, particularly in patients who had previous HPV infections.

Meanwhile, rates are decreasing for older women (who have not been vaccinated).

       256.    In addition to the belief that Gardasil may create and open an ecological niche for

replacement by more virulent strains of HPV, resulting in the increase of cervical cancers as

outlined above, in light of Merck’s false advertising that Gardasil prevents cervical cancer, young

women who have received Gardasil are foregoing regular screening and Pap tests in the mistaken

belief that HPV vaccines have eliminated all their risks.

       257.    Cervical screening is proven to reduce the cases of cervical cancer, and girls who

have taken the vaccine are less likely to undergo cervical screenings.

       258.    Data show that girls who received HPV vaccines before turning 21 are far less

likely to get cervical cancer screening than those who receive the vaccines after turning 21.

       259.    The cervical screening is more cost effective than vaccination alone or vaccination

with screening.

       260.    Therefore, Pap tests, which detect cervical tissue abnormalities, and HPV DNA

testing are the most effective frontline public health response to cervical health.

J.     Merck has Concealed the Fact that Gardasil Induces and Increases the Risk of

Autoimmune Diseases, and Other Injuries, Including But Not Limited to, Postural

Orthostatic Tachycardia Syndrome, Chronic Fatigue Syndrome, Neuropathy, Fibromyalgia,

and Dysautonomia

       261.    Gardasil induces and increases the risk of autoimmune disease.




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       262.    Gardasil has been linked to a myriad of autoimmune disorders, including but not

limited, to: Guillain–Barré syndrome (“GBS”), postural orthostatic tachycardia syndrome

(“POTS”), Orthostatic Intolerance (“OI”), chronic inflammatory demyelinating polyneuropathy

(“CDIP”), small fiber neuropathy (“SNF”), systemic lupus erythematosus (“SLE”), immune

thrombocytopenic     purpura    (“ITP”),   multiple   sclerosis   (“MS”),   acute   disseminated

encephalomyelitis (“ADEM”), antiphospholipid syndrome (“APS”), transverse myelitis,

rheumatoid arthritis, interconnective tissue disorder, autoimmune pancreatitis (“AIP”), and

autoimmune hepatitis.

       263.    Gardasil has also been linked to myriad of diseases and symptoms that are

associated with induced-autoimmune disease, including for example, fibromyalgia, dysautonomia,

premature ovarian failure, chronic fatigue syndrome (“CFS”), chronic regional pain syndrome

(“CRPS”), cognitive dysfunction, migraines, severe headaches, persistent gastrointestinal

discomfort, widespread pain of a neuropathic character, encephalitis syndrome, autonomic

dysfunction, joint pain, and brain fog.

       264.    In a 2015 textbook, VACCINES      AND   AUTOIMMUNITY, edited by Dr. Yehuda

Shoenfeld, the father of autoimmunology research, and many of the world’s leading autoimmunity

experts, the scientists concluded that Gardasil can cause autoimmune disorders because of the

vaccine’s strong immune stimulating ingredients. See Lucija Tomljenovic & Christopher A. Shaw,

Adverse Reactions to Human Papillomavirus Vaccines, VACCINES & AUTOIMMUNITY 163

(Yehuda Shoenfeld et al. eds., 2015).

       265.    Medical experts have opined that the mixture of adjuvants contained in vaccines,

in particular in the Gardasil vaccines, is responsible for post-vaccination induced autoimmune

diseases in select patients. The risks have become so prolific that medical experts have coined a



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new umbrella syndrome – Autoimmune/Inflammatory Syndrome Induced by Adjuvants (“ASIA”)

to refer to the spectrum of immune-mediated diseases triggered by an adjuvant stimulus contained

in vaccines, such as aluminum.      See e.g., YEHUDA SHOENFELD      ET AL, EDS.,   VACCINES &

AUTOIMMUNITY 2 (2015).

       266.    Indeed, even in animal studies, it has been revealed that aluminum adjuvants can

induce autoimmune disease in tested animals. By way of example, in a series of studies conducted

by Lluís Luján, DVM, Ph.D., and his colleagues, it was revealed that sheep injected with

aluminum-containing adjuvants commonly come down with severe autoimmune diseases and

other adverse reactions.

       267.    Specific to the Gardasil vaccines, which contain adjuvants, including amorphous

aluminum hydroxyphosphate sulfate (AAHS) and the previously undisclosed HPV L1 gene DNA

fragments, a number of mechanisms of action have been outlined (as discussed infra) as to how

Gardasil induces autoimmune disease in select patients.

       268.    Given the number of HPV strains that exist, a great part of the human population

has HPV, however, HPV by itself is generally not immunogenic, and generally does not evoke

immune responses. Indeed, HPV shares a high number of peptide sequences with human proteins,

so that the human immune system generally does not react against HPV in order to not harm self-

proteins.   Immunotolerance thus generally blocks reactions against HPV in order to avoid

autoimmune attacks against the human proteins.

       269.    To induce anti-HPV immune reactions, Merck added various adjuvants, including

amorphous aluminum hydroxyphosphate sulfate (AAHS), to the Gardasil vaccine. Adjuvants,

such as aluminum, are inflammatory substances that hyperactivate the immune system. Adjuvants




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are thus the “secret sauce” used by Merck to hyperactivate the immune system and make HPV

immunogenic.

       270.    While adjuvants are added with the intent of destroying the HPV virus, they also

can have the unintended result of rendering the immune system “blind” and unable to distinguish

human proteins from HPV proteins – accordingly, human proteins that share peptide sequences

with HPV are at risk of also being attacked by the vaccine.

       271.    While Gardasil causes immune hyperactivation and production of anti-HPV

antibodies to fend off certain strains of the HPV virus, it can also result in the immune system

losing its ability to differentiate human proteins from foreign proteins, causing the immune system

to attack the body’s own proteins and organs. Because of the massive peptide commonality

between HPV and human proteins, the indiscriminate attack triggered by the Gardasil adjuvants

will cause massive cross-reactions and dangerous attacks against human proteins, leading to a

number of autoimmune diseases manifested throughout the different organs of the body. This

process is sometimes referred to as “molecular mimicry.”

       272.    In addition to “molecular mimicry,” other mechanisms of action that explain how

Gardasil can induce autoimmune disease are “epitope spreading,” whereby invading Gardasil

antigens, including the toxic aluminum adjuvant, accelerate autoimmune process by location

activation of antigen presenting cells and “bystander activation,” wherein antigens and the

aluminum adjuvants in the Gardasil vaccine activate pre-primed autoreactive T cells, which can

initiate autoimmune disease (bystander activation of autoreactive immune T cells), or where virus-

specific T cells initiate bystander activation resulting in the immune system killing uninfected and

unintended neighboring cells.




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       273.    Relevant to the injuries at issue in this case, when a person is lying down,

approximately one-quarter of their blood volume resides in the chest area. When the person stands

up, a significant amount of that blood shifts to the lower extremities. This causes impaired return

of blood flow to the heart which also reduces blood pressure. In healthy individuals, the autonomic

nervous system adjusts the heartrate to counteract this effect and the hemodynamic changes are

negligible. However, in individuals (such as Plaintiff) who are now suffering from dysautonomia

or autonomic ailments, such as POTS or OI, the body’s ability to adjust the heartrate and

compensate for the blood flow is corrupted resulting in a host of wide ranging symptoms, including

but not limited to, dizziness, lightheadedness, vertigo, woozy sensation, chronic headaches, vision

issues due to the loss of blood flow to the brain, light and sound sensitivity, loss of consciousness,

shortness of breath, chest pain, gastrointestinal issues, body pains, insomnia, and confusion and/or

difficulty sleeping. In certain cases of POTS, patients will also be diagnosed with other medical

conditions, including but not limited to, chronic fatigue syndrome and fibromyalgia.

       274.     Medical research has determined that certain dysautonomia diseases such as POTS

and OI have an autoimmune etiology. Norepinephrine, a key neurotransmitter of the sympathetic

(“fight or flight”) system, exerts its mechanism of action by binding to receptors located in the

smooth muscle of the blood vessels and various organs, including the heart. These receptors

include alpha-1, alpha-2, beta-1, beta-2 and beta-3 receptors and, as a group, are generally known

as the adrenergic receptors. The adrenergic receptors, and other receptors, including but not

limited to the ganglionic and muscarinic acetylcholine receptors are believed to be affected in

certain cases of POTS and OI. See e.g., Hongliang Li et al., Autoimmune Basis for Postural

Tachycardia Syndrome, 3 J. AMERICAN HEART ASSOC. e000755 (2014); Artur Fedorowski et al.,

Antiadrenergic Autoimmunity in Postural Tachycardia Syndrome, 19 EUROPACE 1211 (2017);



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Mohammed Ruzieh et al., The Role of Autoantibodies in the Syndromes of Orthostatic Intolerance:

A Systematic Review, 51 SCANDINAVIAN CARDIOVASCULAR J. 243 (2017); Shu-ichi Ikeda et al.,

Autoantibodies Against Autonomic Nerve Receptors in Adolescent Japanese Girls after

Immunization with Human Papillomavirus Vaccine, 2 ANNALS          OF   ARTHRITIS   AND   CLINICAL

RHEUMATOLOGY 1014 (2019); William T. Gunning, Postural Orthostatic Tachycardia Syndrome

is Associated With Elevated G-Protein Coupled Receptor Autoantibodies, 8 J. AMERICAN HEART

ASSOC. e013602 (2019).

       275.   A variety of published medical journal articles have discussed the association

between Gardasil and a myriad of serious injuries and have reported on patients developing POTS,

OI, fibromyalgia, and other symptoms of autonomic impairment following Gardasil vaccination.

See Svetlana Blitshetyn, Postural Tachycardia Syndrome After Vaccination with Gardasil, 17

EUROPEAN J. OF NEUROLOGY e52 (2010); Svetlana Blitshetyn, Postural Tachycardia Syndrome

Following Human Papillomavirus Vaccination, 21 EUROPEAN J.        OF   NEUROLOGY 135 (2014);

Tomomi Kinoshita et al., Peripheral Sympathetic Nerve Dysfunction in Adolescent Japanese Girls

Following Immunization With Human Papillomavirus Vaccine, 53 INTERNAL MEDICINE 2185

(2014); Louise S. Brinth et al., Orthostatic Intolerance and Postural Tachycardia Syndrome As

Suspected Adverse Effects of Vaccination Against Human Papilloma Virus, 33 VACCINE 2602

(2015); Manuel Martinez-Lavin et al., HPV Vaccination Syndrome. A Questionnaire Based Study,

34 J. CLINICAL RHEUMATOLOGY 1981 (2015); Louise S. Brinth et al., Is Chronic Fatigue

Syndrome/Myalgic Encephalomyelitis a Relevant Diagnosis in Patients with Suspected Side

Effects to Human Papilloma Virus Vaccine, 1 INT. J. OF VACCINE & VACCINATION 3 (2015); Jill

R. Schofield et al., Autoimmunity, Autonomic Neuropathy, and HPV Vaccination, A Vulnerable

Subpopulation, CLINICAL PEDIATRICS (2017); Rebecca E. Chandler et al., Current Safety Concerns



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With Human Papillomavirus Vaccine: A Cluster Analysis of Reports in VigiBase, 40 DRUG SAFETY

81 (2017);    Svetlana Blitshetyn et al., Autonomic Dysfunction and HPV Immunization An

Overview, IMMUNOLOGIC RESEARCH (2018); and Svetlana Blitshetyn, Human Papilloma Virus

(HPV) Vaccine Safety Concerning POTS, CRPS and Related Conditions, CLINICAL AUTONOMIC

RESEARCH (2019).

       276.    In a 2017 review, Drs. Tom Jefferson and Lars Jørgensen criticized the European

Medicines Agency (“EMA”) for turning a blind eye to the debilitating autoimmune injuries,

including CRPS and POTS, that young women had suffered following vaccination with HPV

vaccine.   Tom Jefferson et al., Human Papillomavirus Vaccines, Complex Regional Pain

Syndrome, Postural Orthostatic Tachycardia Syndrome, and Autonomic Dysfunction – A Review

of the Regulatory Evidence from the European Medicines Agency, 3 INDIAN J. OF MED. ETHICS 30

(Jan. – March 2017).

       277.    In a separate article, the same authors describe their process for extracting data from

not only peer-reviewed journal publications, but also unpublished data from pharmaceutical

company clinical study reports and trial register entries from ClinicalTrials.gov, under the

assumption that “more than half of all studies are never published, and the published studies’

intervention effects are often exaggerated in comparison to the unpublished studies.             This

introduces reporting bias that undermines the validity of systematic reviews. To address reporting

bias in systematic reviews, it is necessary to use industry and regulatory trial registers and trial

data—in particular, the drug manufacturers’ complete study programs.” They found that 88

percent of industry studies were solely industry funded and found serious deficiencies and

variability in the availability of HPV vaccine study data. For example, only half of the completed

studies listed on ClinicalTrials.gov posted their results. The clinical study reports the authors



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obtained confirmed that the amount of information and data are vastly greater than that in journal

publications. When the authors compared the data the EMA used (which was provided by

GlaxoSmithKline and Merck Sharp and Dohme) to conduct their review of the relationship

between HPV vaccination and both POTS and CRPS, the authors found that only 48 percent of

the manufacturers’ data were reported. According to the authors, “we find this very disturbing.”

Lars Jørgensen et al., Index of the Human Papillomavirus (HPV) Vaccine Industry Clinical Study

Programmes and Non-Industry Funded Studies: A Necessary Basis to Address Reporting Bias in

a Systematic Review, 7 SYSTEMATIC REVIEW 8 (2018).

       278.    Likewise, in a recently released February 2020 peer-reviewed study, researchers

who analyzed the available clinical trial data for all HPV vaccines, which include the Gardasil

vaccines and another HPV vaccine currently only available in Europe, concluded that “HPV

vaccines increased serious nervous disorders.” Lars Jørgensen et al., Benefits and Harms of the

Human Papillomavirus (HPV) Vaccines: Systemic Review with Meta-Analyses of Trial Data from

Clinical Study Reports, 9 SYSTEMATIC REVIEWS 43 (February 2020).

       279.    In addition, Jørgensen and his co-authors observed that, in reanalyzing the

association between HPV vaccines and one specific autoimmune disease, POTS, the HPV vaccines

were associated with a nearly two-fold increased risk of POTS. Id.

       280.    Jørgensen and his co-authors also noted many of the same shortcomings associated

with the Gardasil clinical trials as have already been discussed in this Complaint, including for

example, the fact that no true placebo was utilized by Merck as a comparator (i.e., the

comparator/control used by Merck in the Gardasil clinical trials contained aluminum adjuvant).

The researchers noted that “[t]he use of active comparators may have underestimated harms related




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to HPV vaccines,” and that “[t]he degree of harms might therefore be higher in clinical practice

than in the trials.” Id.

        281.    Jørgensen and his co-authors also noted that the clinical trials revealed that Gardasil

9 induced more harms than Gardasil, which could be explained by the fact that Gardasil 9 contains

more of the AAHS aluminum adjuvant (500 micrograms of AAHS in Gardasil 9 vs. 225

micrograms of AAHS in Gardasil), and this dose-response relationship further corroborates the

plausible claim that the AAHS aluminum adjuvant is a culprit in causing adverse events. Id.

        282.    Other researchers, including Tomljenovic and Shaw, who have closely looked into

Gardasil, have opined that risks from the Gardasil vaccine seem to significantly outweigh the as

yet unproven long-term benefits. In their view, vaccination is unjustified if the vaccine carries any

substantial risk, let alone a risk of death, because healthy teenagers face an almost zero percent

risk of death from cervical cancer.

K.      Merck has Concealed the Fact that Gardasil Increases the Risk of Fertility Problems

        283.    Merck has never tested the impact of the Gardasil vaccines on human fertility.

        284.    Nevertheless, study volunteers reported devastating impacts on human fertility

during combined trials, offering substantial evidence that the vaccine may be causing widespread

impacts on human fertility, including increases in miscarriage, birth defects, premature ovarian

failure, and premature menopause in girls and young women.

        285.    One of the serious adverse events now emerging in vaccinated girls, including

teens, is premature ovarian failure. See, e.g., D. T. Little and H. R. Ward, Adolescent Premature

Ovarian Insufficiency Following Human Papillomavirus Vaccination: A Case Series Seen in

General Practice, JOURNAL OF INVESTIGATIVE MEDICINE HIGH IMPACT, Case Reports 1-12 (Oct.-

Dec. 2014); D. T. Little and H. R. Ward, Premature ovarian failure 3 years after menarche in a



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16-year-old girl following human papillomavirus vaccination, BMJ CASE REPORTS (September

30, 2012).

       286.    Premature ovarian failure can occur after aluminum destroys the maturation process

of the eggs in the ovaries.

       287.    Fertility has plummeted among American women following the 2006 mass

introduction of the Gardasil vaccine. This is most evident in teen pregnancy statistics where

numbers have more than halved since 2007.

       288.    The total fertility rate for the United States in 2017 continued to dip below what is

needed for the population to replace itself, according to a report by the National Center of Health

Statistics issued in January 2019, and the rate for women 15 to 44 fell another 2 percent between

2017 and 2018.

L.     There were an Increased Number of Deaths in the Gardasil Studies

       289.    Merck’s own preliminary studies predicted that Gardasil would kill and injure far

more Americans than the HPV virus, prior to the introduction of the vaccine.

       290.    The average death rate in young women in the U.S. general population is 4.37 per

10,000. See Brady E. Hamilton et al., “Births: Provisional Data for 2016,” Vital Statistics Rapid

Release, Report No. 002, June 2017.

       291.    The Gardasil pooled group had a death rate of 8.5 per 10,000, or almost double the

background rate in the U.S.




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       292.    When Merck added in deaths from belated clinical trials, the death rate jumped to

13.3 per 10,000 (21 deaths out of 15,706).

       293.    Merck dismissed all deaths as coincidences.

       294.    The total number of deaths was 21 in the HPV vaccine group and 19 in the

comparator (AAHS) groups.

       295.    The death rate among vaccine recipients was 13.3 per 10,000, or 133 per 100,000

(21/15,706).

       296.    To put this in perspective, the death rate from cervical cancer in the United States

is 2.3 per 100,000 women. This means that, according to Merck’s own data, a girl is 58 times

more likely to die from Gardasil than from cervical cancer.

M.     Post-Marketing Injuries -- The Raft of Injuries Seen in Merck’s Clinical Trials Has

Now Become A Population-Wide Chronic Disease Epidemic

       297.    By 2010, reports coming in from all over the world linked the Gardasil vaccine to

bizarre and troubling symptoms.

       298.    Many Gardasil survivors will have lifelong handicaps.



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        299.    The severe adverse events from the Gardasil vaccination, seen since its widespread

distribution, are similar to those injuries that Merck covered up during its clinical trials. They

include autoimmune diseases, suicides, deaths, premature ovarian failures, reproductive problems,

infertility, cervical cancer, sudden collapse, seizures, multiple sclerosis, strokes, heart palpitations,

chronic muscle pain, complex regional pain syndrome, and weakness.

        300.    Other frequently reported injuries include disturbances of consciousness; systemic

pain including headache, myalgia, arthralgia, back pain, and other pain; motor dysfunction, such

as paralysis, muscular weightiness, and involuntary movements; numbness and sensory

disturbances; autonomic symptoms including hypotension, tachycardia, nausea, vomiting, and

diarrhea; respiratory dysfunction, including dyspnea, and asthma; endocrine disorders, such as

menstrual disorder and hypermenorrhea; and lastly, hypersensitivity to light, heart palpitations,

migraine headaches, dizziness, cognitive deficits, personality changes, vision loss, joint aches,

headaches, brain inflammation, chronic fatigue, death, and severe juvenile rheumatoid arthritis.

        301.    The data show that Gardasil is yielding far more reports of adverse events than any

other vaccine. For example, Gardasil had 8.5 times more emergency room visits, 12.5 times more

hospitalizations, 10 times more life-threatening events, and 26.5 more disabilities than Menactra,

another vaccine with an extremely high-risk profile.

        302.    As of December 2019, there have been more than 64,000 Gardasil adverse events

reported to the FDA’s Vaccine Adverse Event Reporting System (“VAERS”) since 2006.

        303.    Moreover, studies have shown that only approximately 1 percent of adverse events

are actually reported to FDA’s voluntary reporting systems, thus, the true number of Gardasil

adverse events in the United States may be as high as 6.4 million incidents.




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       304.    The Vaccine Injury Compensation Program has paid out millions of dollars in

damages for Gardasil-induced injuries and deaths.

       305.    The adverse events also include deaths. Parents, doctors, and scientists have

reported hundreds of deaths from the Gardasil vaccine, post-marketing.

       306.    In order to conceal Gardasil’s link to the deaths of teenagers, Merck has submitted

fraudulent reports to VAERS, and posts fraudulent and misleading statements on its Worldwide

Adverse Experience System.

       307.    For example, Merck attributed the death of a young woman from Maryland,

Christina Tarsell, to a viral infection. Following years of litigation, a court determined that

Gardasil caused Christina’s death. There was no evidence of viral infection. Merck invented this

story to deceive the public about Gardasil’s safety.

       308.    Merck submitted fraudulent information about Christina Tarsell’s death to its

Worldwide Adverse Experience System and lied to the FDA through the VAERS system. Merck

claimed that Christina’s gynecologist had told the company that her death was due to viral

infection. Christina’s gynecologist denied that she had ever given this information to Merck. To

this day, Merck has refused to change its false entry on its own reporting system.

N.     The Gardasil Vaccines’ Harms Are Not Limited to the United States, Rather the Vaccines

Have Injured Patients All Over the World

       309.    Gardasil is used widely in the international market. Widespread global experience

has likewise confirmed that the vaccine causes serious adverse events with minimal proven benefit.

       310.    According to the World Health Organization’s Adverse Event Databases, there

have been more than 100,000 serious adverse events associated with Gardasil, outside the

Americas. See WHO Vigibase database, keyword Gardasil: http://www.vigiaccess.org.



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                         i.   In Light of Gardasil’s Serious and Debilitating Adverse Events,

                              the Japanese Government Rescinded Its Recommendation that

                              Girls Receive Gardasil

       311.    In Japan, a country with a robust history of relative honesty about vaccine side

effects, the cascade of Gardasil injuries became a public scandal.

       312.    Japan’s health ministry discovered adverse events reported after Gardasil were

many times higher than other vaccines on the recommended schedule. These included seizures,

severe headaches, partial paralysis, and complex regional pain syndrome. See Hirokuni Beppu et

al., Lessons Learnt in Japan From Adverse Reactions to the HPV Vaccine: A Medical Ethics

Perspective, 2 INDIAN J MED ETHICS 82 (April-June 2017).

       313.    Japanese researchers found that the adverse events rate of the HPV vaccine was as

high as 9 percent, and that pregnant women injected with the vaccine aborted or miscarried 30

percent of their babies. See Ministry of Health, Labour and Welfare, Transcript “The Public

Hearing on Adverse Events following HPV vaccine in Japan,” February 26, 2014.

       314.    The injuries caused the Japanese government to rescind its recommendation that

girls receive the HPV vaccine.

       315.    Japan withdrew its recommendation for Gardasil three months after it had added

the vaccine to the immunization schedule, due to “an undeniable causal relationship between

persistent pain and the vaccination.”

       316.    Uptake rates for the vaccine in Japan are now under 1 percent, compared to 53.7

percent fully vaccinated teenaged girls in the United States.




                                                57
       317.    In late 2016 Japanese industry watchdog, MedWatcher Japan, issued a scathing

letter faulting the WHO for failing to acknowledge the growing body of scientific evidence

demonstrating high risk of devastating side effects.

       318.    In 2015, the Japanese Association of Medical Sciences issued official guidelines

for managing Gardasil injuries post-vaccination.

       319.    That same year, the Japanese Health Ministry published a list of medical institutions

where staffs were especially trained to treat patients who had sustained Gardasil-induced injuries.

       320.    The Japanese government also launched a series of special clinics to evaluate and

treat illnesses caused by the Gardasil vaccines.

       321.    The president of the Japanese Association of Medical Sciences stated that there was

no proof that the vaccines prevent cancer.

       322.    These were developments that Merck was extremely anxious to suppress.

       323.    Merck hired the think tank, the Center for Strategic and International Studies

(“CSIS”) and Professor Heidi Larson of the Vaccine Confidence Project in London, to assess the

reasons for the Japanese situation. The overall conclusion was that the symptoms the girls were

suffering from were psychogenic in nature and were a result of rumors spread online. In essence,

Merck blamed the victims for the Gardasil-induced adverse events in Japan.

                        ii.   Denmark Has Opened Specialized Clinics Specifically Focused

                              on Treating Gardasil-Induced Injuries, Including Gardasil-

                              Induced Autoimmune Diseases

       324.    In March 2015, Denmark announced the opening of five new “HPV clinics” to treat

children injured by Gardasil vaccines. Over 1,300 cases flooded the HPV clinics shortly after




                                                   58
opening. See Zosia Chustecka, Chronic Symptoms After HPV Vaccination: Danes Start Study,

MEDSCAPE (November 13, 2015).

                         iii.   Gardasil-Induced Adverse Events Caused the Government in

                                Colombia to Conclude that Gardasil Would No Longer Be

                                Mandatory

       325.      In Colombia, more than 800 girls in the town of El Carmen de Bolivar reported

reactions ranging from fainting to dizziness to paralysis in March of 2014, following vaccination

with Gardasil.

       326.      With protests erupting across the country, the Colombian attorney general asked

the Constitutional Court to rule on a lower court ruling on the outcome of a case of an injured girl.

       327.      In 2017, in response to an unresolved case, Colombia’s constitutional court ruled

that the Colombian government could not infringe on the bodily integrity of its citizens. This

decision meant that the government could not require the HPV vaccine to be mandatory.

                         iv.    India Halted Gardasil Trials and Accused Merck of Corruption

                                After the Death of Several Young Girls Who were Participants

                                in the Trial

       328.      Seven girls died in the Gardasil trials in India coordinated by Merck and the Gates

Foundation. A report by the Indian Parliament accused the Gates Foundation and Merck of

conducting “a well-planned scheme to commercially exploit” the nation’s poverty and

powerlessness and lack of education in rural India in order to push Gardasil. See 72nd Report on

the Alleged Irregularities in the Conduct of Studies Using Human Papilloma Virus (HPV) Vaccine

by Programme for Appropriate Technology in Health (PATH) in India (August 2013).




                                                 59
       329.    The report alleges that Merck (through PATH, to whom it supplied vaccines) and

the Gates Foundation resorted to subterfuge that jeopardized the health and well-being of

thousands of vulnerable Indian children. The parliamentary report makes clear that the clinical

trials could not have occurred without Merck corrupting India’s leading health organizations. Id.

       330.    The Report accused PATH, which was in collaboration with Merck, of lying to

illiterate tribal girls to obtain informed consent, widespread forging of consent forms by Merck

operatives, offering financial inducements to participate, and providing grossly inadequate

information about potential risks. Id.

       331.    Many of the participants suffered adverse events including loss of menstrual cycles

and psychological changes like depression and anxiety. According to the report: PATH’s “sole

aim has been to promote the commercial interests of HPV vaccine manufacturers, who would have

reaped a windfall of profits had they been successful in getting the HPV vaccine included in the

universal immunization program of the country.... This [conduct] is a clear-cut violation of the

human rights of these girls and adolescents.” Id.

       332.    A 2013 article in the South Asian Journal of Cancer concludes that the HPV

vaccine program is unjustifiable. “It would be far more productive to understand and strengthen

the reasons behind the trend of decreasing cervical cancer rates than to expose an entire population

to an uncertain intervention that has not been proven to prevent a single cervical cancer or cervical

cancer death to date.” See Sudeep Gupta, Is Human Papillomavirus Vaccination Likely to be a

Useful Strategy in India? 2 SOUTH ASIAN J CANCER 194 (October-December 2014).

       333.    The article goes on to say: “A healthy 16-year-old is at zero immediate risk of dying

from cervical cancer, but is faced with a small, but real risk of death or serious disability from a




                                                 60
vaccine that has yet to prevent a single case of cervical cancer.... There is a genuine cause for

concern regarding mass vaccination in this country.” Id.

       334.      In April 2017, the Indian government blocked the Gates Foundation from further

funding of the Public Health Foundation of India and other non-governmental organizations,

effectively barring them from influencing India’s national vaccine program. See Nida Najar,

India’s Ban on Foreign Money for Health Group Hits Gates Foundation, THE NEW YORK TIMES,

April 20, 2017.

O.     Merck’s Fraud Has Paid Off Handsomely Resulting in Over $3 Billion in Gardasil

Sales Annually

       335.      Merck’s corruption and fraud in researching, testing, labeling, and promoting

Gardasil have paid off handsomely.

       336.      Presently, two doses of Gardasil 9 typically cost about $450, plus the cost of two

office visits.

       337.      By comparison, the cost of the DTaP vaccine is about $25 per dose.

       338.      The HPV vaccine is the most expensive vaccine on the market.

       339.      Since approximately 1 in 42,000 American women die of cervical cancer annually,

the cost of avoiding a single death is over $18 million, assuming the Gardasil vaccine is 100

percent effective.

       340.      In 2018, the Gardasil vaccines made $2.2 billion for Merck in the U.S. alone.

       341.      In 2019, Merck made $3.7 billion in worldwide revenues from the Gardasil

vaccines.

       342.      Gardasil is Merck’s most lucrative vaccine and its third-highest selling product.




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         343.   Gardasil is crucial to Merck’s overall financial health. Merck identifies Gardasil

 as one of its “key products,” meaning that any change in Gardasil’s cash flow affects the

 corporation as a whole.

         344.   Merck’s 10-K financial reports note that, for example, the discovery of a previously

 unknown side effect, or the removal of Gardasil from the market, would hurt Merck’s bottom

 line.

III.     Kameron Hilton Sustained Autoimmune Disease, Autonomic Dysfunction and Other

Serious Injuries, as A Result of Her Gardasil Injections

                A. Gardasil and Its Ingredients Caused Plaintiff’s Autoimmune Disease and

                   Other Related Injuries and Has Resulted in Her Suffering from Severe,

                   Debilitating, Disabling and Painful Chronic Injuries

         345.   Plaintiff, Kameron Hilton, was 15 years old when she received her first dosage of

Gardasil on November 7, 2014. Plaintiff was born on April 15, 1999.

         346.   Plaintiff was vaccinated with the Gardasil HPV vaccine three times: on November

7, 2014, January 9, 2015, and June 10, 2015.

         347.   Plaintiff’s mother, Robin Hilton, agreed to her daughter receiving the Gardasil

injections after having been exposed to marketing by Merck, that Gardasil is very safe, that

Gardasil prevents cancer, and that teenagers must get the Gardasil vaccine. Plaintiff’s mother

relied upon Merck’s ubiquitous representations concerning the safety and efficacy of the Gardasil

vaccine, in consenting to her daughter’s Gardasil vaccination(s). She was made to feel that it

would be parenting malpractice if Plaintiff did not receive Gardasil.

         348.   Prior to receiving her Gardasil injections, Plaintiff had no autoimmune diseases,

and no autonomic issues. Before and for a short time after her initial Gardasil HPV vaccination,



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Plaintiff was a physically active and normal teenage girl who participated in activities such as

cheerleading and tumbling.

         349.   On November 7, 2014, Plaintiff’s health care provider in Mooresville, North

Carolina recommended that Plaintiff receive the Gardasil vaccine, which was stated as a safe and

effective vaccine for preventing cervical cancer. In light of the doctor’s recommendations, as well

as Merck’s relentless marketing and advertising messages, to which Plaintiff’s mother had been

exposed concerning the safety and efficacy of Gardasil, Plaintiff’s mother consented to Plaintiff

being injected with the “cervical cancer vaccine,” Gardasil.

         350.   Plaintiff received all three Gardasil HPV vaccinations at the office of Lakeshore

Women’s Specialists in Mooresville, North Carolina. Following each injection, Plaintiff became

dizzy and nauseated.

         351.   Plaintiff received her first Gardasil HPV vaccination on November 7, 2014.

Plaintiff experienced dizziness and nausea following the injection.

         352.   Prior to Plaintiff’s Gardasil HPV vaccinations, her most significant health problems

included ADHD, asthma, anxiety, and dislocations of her right knee and right hip. Also prior to

the vaccination, Plaintiff was diagnosed with morphea.

         353.   In December of 2014, Plaintiff began experiencing frequent and unexplained leg

pain in both of her legs. The leg pain caused Plaintiff to miss several tumbling practices that

month.

         354.   Within two months after receiving the first Gardasil HPV vaccination, on

November 7, 2014, Plaintiff first began to experience hand tremors. While attending a New Year’s

Eve party with friends, she dropped a piece of pizza because her hands were shaking




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uncontrollably. She was only 15 years old at the time. Afterwards, she tried to hide her hand

tremors from family and friends due to embarrassment.

        355.    Plaintiff received her second Gardasil HPV vaccination on January 9, 2015.

Plaintiff experienced dizziness and nausea following the injection.

        356.    Plaintiff received her third Gardasil HPV vaccination on June 10, 2015. Plaintiff

again experienced dizziness and nausea following the injection. Plaintiff vomited before leaving

her doctor’s office following her third Gardasil HPV vaccination.

        357.    Following the third vaccination, Plaintiff was sick for two days. She vomited

repeatedly and continued to experience leg pain, dizziness, and nausea. She did not have any

energy, had trouble sleeping, and could not participate in extracurricular activities due to dizziness

and nausea.

        358.    Shortly after receiving the June 10, 2015 Gardasil HPV vaccine, Plaintiff was

forced to quit tumbling permanently due to dizziness and nausea when changing postural positions

and due to leg pain.

        359.    During the week of July 26, 2015, while on a family vacation, Plaintiff’s mother

observed Plaintiff’s tremors for the first time and immediately made an appointment with

Plaintiff’s pediatrician.

        360.    Plaintiff’s medical records and course of treatment reveal an extended series of

unsuccessful efforts to find a cause or explanation for her deteriorated physical condition following

the administration of the Gardasil vaccine. Later, Plaintiff’s health care providers began focusing

on autoimmune issues and the potential relationship between her deteriorating health and the

Gardasil vaccine.




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       361.    On July 29, 2015, less than two months after receiving her third Gardasil HPV

vaccination, Plaintiff was examined by her pediatrician. This visit resulted in the first medical

record documenting Plaintiff’s tremors. The doctor noted that Plaintiff appeared “Not Sickly.”

None of the typical signs of infection were present and, other than the tremors, the record reflects

that Plaintiff was normal and healthy. However, Plaintiff’s lymph nodes were enlarged, suggesting

that an immunologic reaction was occurring or had recently occurred within her body. This visit

was Plaintiff’s first doctor visit since her third administration of the Gardasil HPV vaccine, and

she had not experienced any other medical problems in the interim that could explain Plaintiff’s

enlarged lymph nodes.

       362.    On September 1, 2015, Plaintiff was evaluated by Dr. Peterson Giallanza, board-

certified neurologist, who diagnosed Plaintiff with essential tremor for the first time.

      363.     On September 11, 2015, Plaintiff underwent a sleep study conducted by Dr.

Giallanza. Dr. Giallanza observed head movement tremors during Plaintiff’s sleep which were

not assigned an etiology.

      364.     Plaintiff’s tremors continued to worsen throughout September 2015. Additionally,

Plaintiff developed whole-body convulsions, after which she could not walk for a period of time.

       365.    In late September 2015, Plaintiff was involved in a minor car accident caused by

her loss of consciousness. When Plaintiff regained consciousness, her body was convulsing

uncontrollably.

       366.    On September 21, 2015, Plaintiff first began receiving school accommodations due

to the severity of her tremors. At that time, Plaintiff’s school granted her the accommodations of

elevator use and the ability to leave class early as needed.




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       367.    On September 24, 2015, Dr. Giallanza performed an MRI on Plaintiff’s brain

which, upon his review, revealed a “punctate focus of hemosiderin and some surrounding gliosis

in the left inferior posterior putamen/lateral anterior commissure on the left.” According to Dr.

Giallanza, the MRI suggested a “remote my lobe hemorrhage/microbleed” of uncertain etiology.

       368.    Around this same time, Plaintiff became dependent on a wheelchair or walker for

mobility following her whole body convulsion episodes.

       369.    On October 8, 2015, Dr. Giallanza again evaluated Plaintiff’s condition, including

her recurrent syncope and whole body convulsions. Although the EEG appeared to be normal, Dr.

Giallanza noted that a normal EEG cannot entirely rule out a diagnosis of epilepsy.

       370.    From October 12 to October 15, 2015, Plaintiff was evaluated at UNC Health Care

by various physicians because, as one record states, a “16 year old previously healthy female

present[ed] with increasing tremors over last 10 months, worsening such that [she] cannot walk

when episodes occur – has episodes of full body tremors occurring approximatelydaily and

lasting 15-30 minutes.”

       371.    While Plaintiff was evaluated at UNC, another MRI was taken of Plaintiff’s brain

from which the doctors at UNC derived the impression that a “susceptibility artifact within

posterior left putamen may represent focal asymmetric basal ganglia mineralization – sequela of

prior micro hemorrhage is considered much less likely, no additional brain parenchymal signal

abnormalities to account for patient’s symptoms[.]”

       372.    One treating physician noted that the “MRI [of her] brain revealed a 5mm

hypodensity in the left putamen which has been felt to be of limited significance. … [I]t is

interestingthat the ‘artifact’ on [the] MRI that has been felt to have limited clinical significance

occurs in the basal ganglia which could potentially cause tremor[.]”



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       373.    The treating physicians at UNC were unable to ascertain a biological cause for

Plaintiff’s numerous symptoms and, focusing mostly on her whole body convulsions, diagnosed

Plaintiff with baseline essential tremor aggravated by anxiety and conversiondisorder, resulting in

whole body tremors that were believed to be psychogenic in origin. None of the treating physicians

at UNC considered whether Plaintiff’s symptoms might be caused by dysautonomia, POTS, or the

Gardasil HPV vaccine.

       374.    After coming home from UNC, Plaintiff became medically home bound for the

remainder of her junior year of high school. When she returned to classes, she did so on a limited

basis and with multiple accommodations.

       375.    On October 22, 2015, Plaintiff began seeing counselor Lisa Monson, a licensed

professional counselor and national certified counselor as recommended by the treating physicians

at UNC hospital in order to get treatment for possible conversion disorder. Ms. Monson saw

Plaintiff thirty times overthe course of a year until Plaintiff’s last session on October 17, 2016.

Ms. Monson concluded definitively that Plaintiff’s physical condition and deterioration doesnot

have a psychological origin.

       376.    Particularly given her physical decline and life-altering physical limitations, Ms.

Monson was helpful to Plaintiff in equipping her with anxiety relieving strategies, establishing

healthy coping and emotional self-regulation, and exploring signs of trauma. No trauma was found

other than the limitations and significant lifestyle changes resulting from Plaintiff’s declining

physical condition. Despite succeeding in therapy, Plaintiff’s physical condition continued to

worsen. Accordingly, Plaintiff’s counselor maintains that, in her professional opinion, Plaintiff’s

physical ailments were not and are not psychologically induced.




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       377.    On December 29, 2015, Plaintiff’s neurologist, Dr. Giallanza, first reevaluated

Plaintiff’s condition after her stay at UNC hospital. He noted that Plaintiff was having a lot of

muscle pain in both legs, that her tremors were worse with standing, and that she was experiencing

some postural tremor. At this time, Dr. Giallanza initially agreed with the treating physicians at

UNC “that the patient has some element of conversion associated with her essential/postural

tremor.”

       378.    Plaintiff’s severe whole body convulsions and syncope continued throughout 2016.

Plaintiff continued to rely on a wheelchair and a walker for mobility due to leg pain and potential

loss of consciousness.

       379.    Another MRI was performed on Plaintiff’s brain on September 23, 2016, revealing

an additional pinpoint focus of hemosiderin in the subcortical white matter or the leftparietal lobe,

suggesting a prior microbleed or “perhaps vascular anomalies such as capillary telangiectasia.”

Otherwise, there was no evidence of “mass, infarct, acute or interval hemorrhage or

demyelination.” Her ventricles were normal size and there was no extra-axial mass or fluid. In

comparison to a previous exam, the brain looked stable, without any changes.

       380.    Between January 26, 2017 and February 7, 2017, Plaintiff’s primary care physician,

Dr. Alisa Nance, and her neurologist, Dr. Giallanza, conferred with each other and jointly

diagnosed Plaintiff with dysautonomia and POTS.

       381.    On April 3, 2017, Plaintiff’s primary care physician evaluated Plaintiff after a

blackout episode surrounding which Plaintiff experienced severe pain, dehydration, and nausea.

       382.    On June 20, 2017, Dr. Giallanza noted: “In addition to this and her dysautonomia,

we discussed potential etiologies. There was a temporal correlation with when the patient did

receive HPV vaccine, and given this, it may be causative.”



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       383.     In a letter dated June 29, 2017, Plaintiff’s primary care physician explained that

Plaintiff’s POTS symptoms and essential tremor both began after receiving the Gardasil

vaccinations.

       384.     Dr. Giallanza treated Plaintiff’s disorders as potentially autoimmune in nature. In

a visit on August 14, 2017, Dr. Giallanza noted: “I will have the patient undergo IV Solumedrol

for 3 days to see if this may help with her symptoms. I question whether that this may be an

autoimmune dysautonomia.”

       385.     As would be the case with an autoimmune etiology, Plaintiff’s body responded well

to the steroid treatment ordered by her neurologist. She experienced a significant increase in

energy and regained her appetite.

       386.     On October 10, 2017, Plaintiff was reevaluated by her neurologist, Dr. Giallanza,

who noted Plaintiff’s improvement after receiving the steroid injections. Furthering the course of

treatment of Plaintiff’s disorders as autoimmune in nature, Dr. Giallanza ordered a “lumbar

puncture,” commonly known as aspinal tap, to test Plaintiff’s cerebrospinal fluid for the presence

of antibodies known to be present in POTS and dysautonomia patients, the etiology of which

include autoimmunity.

       387.     Plaintiff suffers and has suffered from dysautonomia, POTS, essential tremor,

whole body convulsions, sleep disorder, restless leg syndrome, syncope, appetite loss, headaches,

leg pain, severe fatigue, chronic and acute skin problems, and cognitive issues.

       388.     Plaintiff’s injuries are known to originate from dysfunction of the immune system.

       389.     The onset of Plaintiff’s injuries occurred within a sufficiently close temporal

proximity to at least one, if not more, of Plaintiff’s three Gardasil HPV vaccinations to constitute




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a medically acceptable timeframe for causation, given the natural progression of the Gardasil HPV

vaccine once introduced into the human body.

       390.   Plaintiff’s injuries were caused by one or more of Plaintiff’s Gardasil HPV

vaccinations received on November 7, 2014, January 9, 2015, and/or June 10, 2015.

       391.   As previously discussed, the medical literature has documented other patients who,

like Plaintiff, have suffered serious autonomic dysfunctions, and who experienced the same side

effects as those Plaintiff has suffered, and who were diagnosed with Gardasil-induced autonomic

diseases. See E. Israeli et al., Adjuvants and Autoimmunity, 18 LUPUS 1217 (2009); Darja Kanduc,

Quantifying the Possible Cross-Reactivity Risk of an HPV16 Vaccine, 8 JOURNAL                 OF

EXPERIMENTAL THERAPEUTICS        AND   ONCOLOGY 65 (2009); Svetlana Blitshetyn, Postural

Tachycardia Syndrome After Vaccination with Gardasil, 17 EUROPEAN J.        OF   NEUROLOGY e52

(2010); Darja Kanduc, Potential Cross-Reactivity Between HPV16 L1 Protein and Sudden Death

Associated Antigens, 9 JOURNAL OF EXPERIMENTAL THERAPEUTICS AND ONCOLOGY 159 (2011);

Deirdre Little et al., Premature ovarian failure 3 years after menarche in a 16-year-old girl

following human papillomavirus vaccination, BRIT. MED. J. CASE REPORTS (2012); Serena

Colafrancesco et al., Human Papilloma Virus Vaccine and Primary Ovarian Failure: Another

Facet of the Autoimmune Inflammatory Syndrome Induced by Adjuvants, 70 AM. J. REPRODUCTIVE

IMMUNOLOGY 309 (2013); Maurizo Rinaldi et al., Anti-Saccharomyces Cerevisiae Autoantibodies

in Autoimmune Diseases: from Bread Baking to Autoimmunity, 45 CLINICAL REVIEWS IN ALLERGY

AND IMMUNOLOGY      152 (October 2013); Svetlana Blitshetyn, Postural Tachycardia Syndrome

Following Human Papillomavirus Vaccination, 21 EUROPEAN J.         OF   NEUROLOGY 135 (2014);

Tomomi Kinoshita et al., Peripheral Sympathetic Nerve Dysfunction in Adolescent Japanese Girls

Following Immunization With Human Papillomavirus Vaccine, 53 INTERNAL MEDICINE 2185



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(2014);     Christopher A. Shaw et al., Aluminum-Induced Entropy in Biological Systems:

Implications for Neurological Disease, JOURNAL OF TOXICOLOGY (2014); Louise S. Brinth et al.,

Orthostatic Intolerance and Postural Tachycardia Syndrome As Suspected Adverse Effects of

Vaccination Against Human Papilloma Virus, 33 VACCINE 2602 (2015); Manuel Martinez-Lavin

et al., HPV Vaccination Syndrome. A Questionnaire Based Study, 34 J. CLINICAL RHEUMATOLOGY

1981 (2015); Louise S. Brinth et al., Is Chronic Fatigue Syndrome/Myalgic Encephalomyelitis a

Relevant Diagnosis in Patients with Suspected Side Effects to Human Papilloma Virus Vaccine, 1

INT. J. OF VACCINE & VACCINATION 3 (2015); Jill R. Schofield et al., Autoimmunity, Autonomic

Neuropathy, and HPV Vaccination, A Vulnerable Subpopulation, CLINICAL PEDIATRICS (2017);

Rebecca E. Chandler et al., Current Safety Concerns With Human Papillomavirus Vaccine: A

Cluster Analysis of Reports in VigiBase, 40 DRUG SAFETY 81 (2017); Svetlana Blitshetyn et al.,

Autonomic Dysfunction and HPV Immunization An Overview, IMMUNOLOGIC RESEARCH (2018);

and Svetlana Blitshetyn, Human Papilloma Virus (HPV) Vaccine Safety Concerning POTS, CRPS

and Related Conditions, CLINICAL AUTONOMIC RESEARCH (2019); Lars Jørgensen et al., Benefits

and Harms of the Human Papillomavirus (HPV) Vaccines: Systemic Review with Meta-Analyses

of Trial Data from Clinical Study Reports, 9 SYSTEMATIC REVIEWS 43 (February 2020).

          392.   Plaintiff contends that her Gardasil injection(s) caused her to develop serious and

debilitating injuries, including but not limited to autonomic, neurological, heterogenous

autoimmune disease, POTS, and dysautonomia, as well as a constellation of adverse symptoms,

complications, injuries, and other adverse events, many of which are alleged herein and all of

which were caused by Gardasil or otherwise linked to her Gardasil-induced autoimmune disorder.




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B.     Plaintiff has Complied with the National Vaccine Injury Compensation Program

Requirements

       393.      Pursuant to Section 300aa-11(a) of the National Vaccine Injury Compensation

Program: “No person may bring a civil action for damages … against a vaccine administrator or

manufacturer in a State or Federal court for damages arising from a vaccine-related injury ...

associated with the administration of a vaccine … unless a petition has been filed, in accordance

with section 300aa-16 of this title, for compensation under the Program for such injury … and (I)

the United Stated Court of Federal Claims has issued a judgment under section 300aa-12 of this

title on such petition and (II) such person elects under section 300aa-21(a) to file such an action.”

See 42 U.S.C. §§ 300aa–11(a)(2)(A).

       394.    Title 42, Section 300aa-16 (c) further states: “If a petition is filed under section

300aa-11 of this title for a vaccine-related injury or death, limitations of actions under State law

shall be stayed with respect to a civil action brought for such injury or death for the period

beginning on the date the Petition is filed and ending on the date … an election is made under

section 300aa-21(a) of this title to file the civil action ...” See 42 U.S.C. §§ 300aa–16(c).

       395.    In full compliance with the aforementioned federal law, Plaintiff duly filed her

petition with the U.S. Court of Federal Claims seeking compensation for her Gardasil vaccine-

related injuries under the National Vaccine Injury Compensation Program. A judgement thereon

was rendered on or about March 18, 2022, and Plaintiff duly filed her election to file a civil action

on March 18, 2022.

       396.    Having complied with National Vaccine Injury Compensation Program

administrative procedure and having duly filed her election to proceed with a civil action, Plaintiff

hereby timely initiates the instant action against Merck, the manufacturer and promoter of the



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Gardasil vaccines which caused her debilitating injuries. Through this civil action, Plaintiff seeks

to hold Merck accountable for its negligent, reckless, and fraudulent conduct and she seeks full

compensation from Merck for the physical and emotional injuries and harms she sustained as a

result of Gardasil.

                                        CAUSES OF ACTION

                                           COUNT ONE
                                          NEGLIGENCE

       397.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein and further alleges:

       398.    Merck is the researcher, manufacturer, labeler, and promoter of the Gardasil and

the subsequent Gardasil 9 vaccines.

       399.     Merck marketed Gardasil to patients, including teenagers such as Plaintiff, her

parents, and her medical providers.

       400.    Merck had a duty to exercise reasonable care in the research, manufacture,

marketing, advertisement, supply, promotion, packaging, sale, and distribution of Gardasil,

including the duty to take all reasonable steps necessary to research, manufacture, label, promote,

and/or sell a product that was not unreasonably dangerous to consumers, users, and other persons

coming into contact with the product.

       401.    At all times relevant to this litigation, Merck had a duty to exercise reasonable care

in the marketing, advertising, and sale of Gardasil. Merck’s duty of care owed to consumers and

the general public included providing accurate, true, and correct information concerning the

efficacy and risks of Gardasil and appropriate, complete, and accurate warnings concerning the

potential adverse effects of Gardasil and its various ingredients and adjuvants.




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        402.   At all times relevant to this litigation, Merck knew or, in the exercise of reasonable

care, should have known of the hazards and dangers of Gardasil and specifically, the serious,

debilitating, and potentially fatal adverse events associated with Gardasil, including but not limited

to autoimmune diseases (including, but not limited to, POTS and OT), fibromyalgia, increased risk

of cancer (including cervical cancer, which was the very cancer it was promoted as preventing),

and death.

        403.   Accordingly, at all times relevant to this litigation, Merck knew or, in the exercise

of reasonable care, should have known that use of Gardasil could cause Plaintiff’s injuries and thus

created a dangerous and unreasonable risk of injury to the users of these products, including

Plaintiff.

        404.   Merck knew or, in the exercise of reasonable care, should have known that its

negligently and poorly performed clinical trials and studies were insufficient to test the true long-

term safety and efficacy of Gardasil.

        405.   Merck also knew, or, in the exercise of reasonable care, should have known that its

targeted consumers and patients (who were pre-teen and teen children), the parents of these

patients, and the children’s medical providers were unaware of the true risks and the magnitude of

the risks associated with Gardasil and the disclosed and undisclosed ingredients of Gardasil.

        406.   As such, Merck breached its duty of reasonable care and failed to exercise ordinary

care in the research, manufacturing, testing, marketing, supply, promotion, advertisement,

packaging, labeling, sale, and distribution of Gardasil, in that Merck manufactured and produced

a defective and ineffective vaccine, knew or had reason to know of the defects and inefficacies

inherent in its products, knew or had reason to know that a patient’s exposure to Gardasil created




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a significant risk of harm and unreasonably dangerous side effects, and failed to prevent or

adequately warn of these defects, risks and injuries.

       407.     Merck failed to appropriately and adequately test the safety and efficacy of Gardasil

and its individual ingredients and adjuvants.

       408.     Despite the ability and means to investigate, study, and test its products and to

provide adequate warnings, Merck has failed to do so. Indeed, Merck has wrongfully concealed

information and has further made false and/or misleading statements concerning the safety and

efficacy of Gardasil.

       409.     Merck’s negligence is outlined in detail in this Complaint and included, among

other things:

                a)      Manufacturing, producing, promoting, creating, researching, labeling,

                        selling, and/or distributing Gardasil without thorough and adequate pre-and

                        post-market testing and studies;

                b)      Manufacturing, producing, promoting, researching, labeling, selling, and/or

                        distributing Gardasil while negligently and intentionally concealing and

                        failing to accurately and adequately disclose the results of the trials, tests,

                        and studies of Gardasil, and, consequently, the lack of efficacy and risk of

                        serious harm associated with Gardasil;

                c)      Failing to undertake sufficient studies and conduct necessary tests to

                        determine the safety of the ingredients and/or adjuvants contained within

                        Gardasil, and the propensity of these ingredients to render Gardasil toxic,

                        increase the toxicity of Gardasil, whether these ingredients are carcinogenic

                        or associated with autoimmune diseases and other injures;



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d)   Negligently designing and conducting its clinical trials so as to prevent the

     clinical trials from revealing the true risks, including but not limited to, long

     terms risks and risks of autoimmune diseases associated with Gardasil;

e)   Negligently designing and conducting its clinical trials so as to mask the

     true risks, including but not limited to, long terms risks and risks of

     autoimmune diseases and cancers associated with Gardasil;

f)   Failing to test Gardasil against a true inert placebo and lying to the public

     that Gardasil was tested against a placebo, when in reality, all, or nearly all,

     studies used a toxic placebo that included the aluminum adjuvant AAHS;

g)   Failing to have a sufficient number of studies for the targeted patient

     population which included pre-teen girls (and boys) between the ages of

     nine and 12;

h)   Not using the commercial dosage (and instead using a lower dosage of the

     adjuvant and ingredients) in one of the key clinical trials used to obtain

     licensing for the commercial dosage of Gardasil;

i)   Using restrictive exclusionary criteria in the clinical study patient

     population (including for example, the exclusion of anyone who had prior

     abnormal Pap tests, had a history of immunological or nervous system

     disorders, or was allergic to aluminum or other ingredients), and then not

     revealing or warning about these exclusionary criteria in the label and

     knowing that, for most of these ingredients and allergies, there are limited

     resources for the public to test for such allergies in advance of being

     vaccinated;



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j)   Negligently designing and conducting its trials so as to create the illusion

     of efficacy when in reality the Gardasil Vaccines have not been shown to

     be effective against preventing cervical and anal cancer;

k)   Failing to use reasonable and prudent care in the research, manufacture,

     labeling and development of Gardasil so as to avoid the risk of serious harm

     associated with the prevalent use of Gardasil;

l)   Failing to provide adequate instructions, guidelines, warnings, and safety

     precautions to those persons who Merck could reasonably foresee would

     use and/or be exposed to Gardasil;

m)   Failing to disclose to Plaintiff and her medical providers and to the general

     public that Gardasil is ineffective when used in patients who have

     previously been exposed to HPV, and also failing to disclose that Gardasil

     actually increases the risk of cervical cancer, including in any child or

     patient who has previously been exposed to HPV;

n)   Failing to disclose to Plaintiff and her medical providers and to the general

     public that use of and exposure to Gardasil presents severe risks of cancer

     (including cervical cancer, the very cancer it is promoted as preventing),

     fertility problems, autoimmune diseases, and other grave illnesses as

     alleged herein;

o)   Failing to disclose to Plaintiff and her medical providers and to the general

     public that use of and exposure to Gardasil presents severe risks of

     triggering and increasing the risk of various autoimmune diseases, including

     but not limited to POTS and OI;



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p)   Failing to disclose to Plaintiff and her medical providers and to the general

     public that, contrary to Merck’s promotion of the vaccine, Gardasil has not

     been shown to be effective at preventing cervical cancer and that the safest

     and most effective means of monitoring and combating cervical cancer is

     regular testing, including Pap tests;

q)   Representing that Gardasil was safe and effective for its intended use when,

     in fact, Merck knew or should have known the vaccine was not safe and not

     effective for its intended use;

r)   Falsely advertising, marketing, and recommending the use of Gardasil,

     while concealing and failing to disclose or warn of the dangers Merck knew

     to be associated with or caused by the use of Gardasil;

s)   Falsely promoting Gardasil as preventing cervical cancer when Merck

     knows that it has not done any studies to demonstrate that Gardasil prevents

     cervical cancer and, indeed, its clinical studies revealed that Gardasil

     actually increases the risk of cervical cancer;

t)   Engaging in false advertising and disease mongering by scaring parents and

     children into believing that cervical and anal cancer is far more prevalent

     than it really is; that all cervical and anal cancer was linked to HPV; that

     Gardasil prevented cervical and anal cancer, when in reality none of these

     representations were true as cervical cancer rates were declining in the

     United States due to Pap testing and Gardasil has not been shown to prevent

     against all strains of HPV that are associated with cervical and anal cancer

     and, indeed, it has never been shown to prevent cervical and anal cancer;



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              u)      Failing to disclose all of the ingredients in Gardasil, including but not

                      limited to the fact that Gardasil contains dangerous HPV L1-DNA

                      fragments and that these DNA fragments could act as a Toll-Like Receptor

                      9 (TLR9) agonist – further adjuvanting the vaccine and making it more

                      potent and dangerous;

              v)      Declining to make any changes to Gardasil’s labeling or other promotional

                      materials that would alert consumers and the general public of the true risks

                      and defects of Gardasil; and

              w)      Systemically suppressing or downplaying contrary evidence about the risks,

                      incidence, and prevalence of the side effects of the Gardasil Vaccines by,

                      inter alia, orchestrating the retraction of peer-reviewed and published

                      studies and vilifying and attempting to ruin the careers of any scientists who

                      openly question Gardasil’s safety and efficacy.

      410.    Merck knew and/or should have known that it was foreseeable that patients, such

as Plaintiff, would suffer injuries as a result of Merck’s failure to exercise ordinary care in the

manufacturing, marketing, labeling, distribution, and sale of Gardasil.

      411.    Plaintiff and, upon information and belief, her medical providers, did not know the

true nature and extent of the injuries that could result from the intended use of and/or exposure to

Gardasil or its adjuvants and ingredients.

      412.    Merck’s negligence was the proximate cause of the injuries, harm, and economic

losses that Plaintiff suffered, and will continue to suffer, as described herein.

      413.    Had Merck not engaged in the negligent and fraudulent conduct alleged herein

and/or had Merck via its labeling, advertisements, and promotions provided adequate and truthful



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warnings and properly disclosed and disseminated the true risks, limitations, and lack of efficacy

associated with Gardasil to medical providers, patients and the public, then upon information and

belief, Plaintiff’s medical providers would not have offered or recommended Gardasil to Plaintiff.

Moreover, even if after Merck’s dissemination of truthful information concerning the true risks

and efficacy limitation of Gardasil, Plaintiff’s medical providers had offered Gardasil, then upon

information and belief, the providers would have heeded any warnings issued by Merck and

relayed to Plaintiff the safety risks and efficacy limitations that Merck should have warned her

medical providers about, but failed to do so. Had Plaintiff been informed of the true risks and

efficacy limitation concerning Gardasil, either through her medical providers or through Merck’s

ubiquitous direct-to-consumer promotional marketing, on which Plaintiff relied, then Plaintiff

would never have consented to Plaintiff being injected with Gardasil.

      414.    As a proximate result of Merck’s wrongful acts and omissions and its negligent and

fraudulent testing, labeling, manufacturing, marketing, and promotion of Gardasil, Plaintiff has

suffered and continues to suffer severe and permanent physical injuries, and associated

symptomology and has suffered severe and permanent emotional injuries, including pain and

suffering. Plaintiff also has a substantial fear of suffering additional and ongoing harms, including

but not limited to now being at an increased risk of cancer, and future symptoms and harms

associated with her autoimmune disease and other injuries caused by Gardasil.

      415.      As a direct and proximate result of her Gardasil-induced injuries, Plaintiff has

suffered and continues to suffer economic losses, including considerable financial expenses for

medical care and treatment, and diminished income capacity, and she will continue to incur these

losses and expenses in the future.




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       416.    Merck’s conduct, as described herein, was aggravated, oppressive, fraudulent, and

 malicious. Merck regularly risks the lives of patients, including Plaintiff, with full knowledge of

 the limited efficacy of Gardasil and the severe and sometimes fatal dangers of Gardasil. Merck

 has made conscious decisions to not warn, or inform the unsuspecting public, including Plaintiff,

 and her medical providers. Merck’s conduct, including its false promotion of Gardasil and its

 failure to issue appropriate warnings concerning the severe risks of Gardasil, created a substantial

 risk of significant harm to children and patients who were being injected with Gardasil, and

 therefore warrants an award of punitive damages.

       417.    WHEREFORE, Plaintiff requests that the Court enter judgment in her favor for

 compensatory damages and punitive damages, together with interest, and costs herein incurred,

 and all such other and further relief as this Court deems just and proper. Plaintiff also demands a

 jury trial on the issues contained herein.

                                            COUNT TWO
                                         GROSS NEGLIGENCE

       418.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges:

       419.    The conduct of Merck described herein amounts to gross negligence.

       420.    Specifically, Merck regularly risks the lives of patients, including Plaintiff, with

 full knowledge of the limited efficacy of Gardasil and the severe and sometimes fatal dangers of

 Gardasil. Merck has made conscious decisions to not warn, or inform the unsuspecting public,

 including Plaintiff, and her medical providers. Merck’s conduct, including its false promotion of

 Gardasil and its failure to issue appropriate warnings concerning the severe risks of Gardasil,

 created a substantial risk of significant harm to children and patients who were being injected

 with Gardasil, and therefore warrants an award of punitive damages.


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          421.   The conduct of Merck described herein was wanton.

          422.   The conduct of Merck described herein was done with conscious or reckless

disregard for the rights and safety of others.

          423.   The conduct of Merck described herein was done purposely and with knowledge

that such conduct was a breach of duty to others.

          424.   The conduct of Merck described herein was done with a conscious disregard of the

rights and safety of others.

          425.   Gross negligence rests on the assumption that the actor knew the probable

consequences but was recklessly, wantonly, or intentionally indifferent to the results.

          426.   The gross negligence of Merck was a proximate and reasonably foreseeable cause

of substantial injury to Plaintiff.

          427.   As a proximate and foreseeable result of the conduct described herein, and the

breach of duties to Plaintiff described herein, Plaintiff has suffered damages.

          428.   WHEREFORE, Plaintiff requests that the Court enter judgment in her favor for

punitive damages, and all such other and further relief as this Court deems just and proper. Plaintiff

also demands a jury trial on the issues contained herein.

                                           COUNT THREE
                                         FAILURE TO WARN

          429.   Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges:

          430.   Plaintiff brings this claim against Merck for failure to warn.

          431.   Merck acted unreasonably in failing to provide adequate warnings or instructions

concerning the dangerous characteristics of Gardasil and its ingredients and adjuvants as described

herein.


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         432.   At the time Gardasil left the control of Merck, Gardasil, without adequate warnings

or instructions, created an unreasonably dangerous condition that Merck knew or should have

known posed a substantial risk of harm to consumers, including Plaintiff.

         433.   At all times relevant to this litigation, Merck engaged in the business of researching,

testing, manufacturing, marketing, selling, distributing, and promoting Gardasil, which is defective

and unreasonably dangerous to consumers, including Plaintiff, because it does not contain

adequate warnings or instructions concerning the dangerous characteristics of Gardasil and its

ingredients and adjuvants. These actions were under the ultimate control and supervision of

Merck.

         434.   Merck researched, tested, manufactured, inspected, labeled, distributed, marketed,

promoted, sold, and otherwise released into the stream of commerce Gardasil, and in the course of

same, directly advertised or marketed the vaccine to consumers and end users, including Plaintiff

and her medical providers, and Merck therefore had a duty to warn of the risks associated with the

reasonably foreseeable uses of Gardasil and a duty to instruct on the proper, safe use of these

products.

         435.   At all times relevant to this litigation, Merck had a duty to properly research, test,

manufacture, inspect, package, label, market, promote, sell, distribute, provide proper warnings,

and take such steps as necessary to ensure that Gardasil did not cause users and consumers to suffer

from unreasonable and dangerous risks. Merck had a continuing duty to instruct on the proper,

safe use of these products. Merck, as manufacturer, seller, or distributor of vaccines, is held to the

knowledge of an expert in the field.




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       436.    At the time of manufacture, Merck could have provided warnings or instructions

regarding the full and complete risks of Gardasil because it knew or should have known of the

unreasonable risks of harm associated with the use of and/or exposure to these products.

       437.    At all times relevant to this litigation, Merck failed to properly investigate, study,

research, test, manufacture, label or promote Gardasil. Merck also failed to minimize the dangers

to children, patients, and consumers of Gardasil products and to those who would foreseeably use

or be harmed by Gardasil, including Plaintiff.

       438.    Despite the fact that Merck knew or should have known that Gardasil posed a grave

and unreasonable risk of harm (including but not limited to increased risk of autoimmune disease,

and the various other Gardasil induced injuries that Plaintiff has sustained), it failed to warn of the

risks associated with Gardasil. The dangerous propensities of Gardasil and the carcinogenic

characteristics and autoimmune-inducing characteristics of Gardasil, as described herein, were

known to Merck, or scientifically knowable to Merck through appropriate research and testing by

known methods, at the time it distributed, supplied, or sold Gardasil, and not known to end users

and consumers, such as Plaintiff and her medical providers.

       439.    Merck knew or should have known that Gardasil and its ingredients and adjuvants

created significant risks of serious bodily harm to children and patients, as alleged herein, and

Merck failed to adequately warn patients, parents, medical providers and reasonably foreseeable

users of the risks and lack of efficacy of Gardasil. Merck has wrongfully concealed information

concerning Gardasil’s dangerous nature and lack of efficacy and has further made false and

misleading statements concerning the safety and efficacy of Gardasil.

       440.    Plaintiff was injected with Gardasil in its intended or reasonably foreseeable

manner without knowledge of its unreasonable dangerous and inefficacious characteristics.



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       441.    Plaintiff could not have reasonably discovered the defects and risks associated with

Gardasil before or at the time of her injection(s).     Plaintiff relied upon the skill, superior

knowledge, and judgment of Merck.

       442.    Merck knew or should have known that the warnings disseminated with Gardasil

were inadequate, and failed to communicate adequate information concerning the true risks and

lack of efficacy of Gardasil and failed to communicate warnings and instructions that were

appropriate and adequate to render the products safe for their ordinary, intended, and reasonably

foreseeable uses, including injections in teenagers.

       443.    The information that Merck did provide or communicate failed to contain relevant

warnings, hazards, and precautions that would have enabled patients, parents of patients, and the

medical providers of patients to properly utilize, recommend or consent to the utilization of

Gardasil. Instead, Merck disseminated information that was inaccurate, false, and misleading and

which failed to communicate accurately or adequately the lack of efficacy, comparative severity,

duration, and extent of the serious risk of injuries associated Gardasil; continued to aggressively

promote the efficacy and safety of its products, even after it knew or should have known of

Gardasil’s unreasonable risks and lack of efficacy; and concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks, defects and dangers of Gardasil.

       444.    Merck did not provide adequate warnings or instructions to physicians, including,

upon information and belief, Plaintiff’s medical providers, or other legally authorized persons who

prescribe or dispense Gardasil as required by the United States Food and Drug Administration.

       445.    To this day, Merck has failed to adequately and accurately warn of the true risks of

Plaintiff’s injuries, including but not limited to, autoimmune diseases, including POTS and



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dysautonomia, associated with the use of and exposure to Gardasil, and has failed to warn of the

additional risks that Plaintiff is now exposed to, including, but not limited to, the increased risk of

cancer, and other potential side effects and ailments.

       446.    As a result of Merck’s failure to warn and false promotion, Gardasil is and was

defective and unreasonably dangerous when it left the possession and/or control of Merck, was

distributed by Merck, and used by Plaintiff.

       447.    Merck is liable to Plaintiff for injuries caused by its failure, as described above, to

provide adequate warnings or other clinically relevant information and data regarding Gardasil,

the lack of efficacy and serious risks associated with Gardasil and its ingredients and adjuvants.

       448.    The defects in Merck’s Gardasil vaccine were substantial and contributing factors

in causing Plaintiff’s injuries, and, but for Merck’s misconduct and omissions and Gardasil’s

defects, including its defective labeling and false promotion, Plaintiff would not have sustained

her injuries which she has sustained to date, and would not have been exposed to the additional

prospective risk and dangers that are associated with Gardasil.

       449.    Had Merck not engaged in the negligent and fraudulent conduct alleged herein

and/or had Merck, via its labeling, advertisements, and promotions provided adequate and truthful

warnings and properly disclosed and disseminated the true risks, limitations, and lack of efficacy

associated with Gardasil to medical providers, patients and the public, then upon information and

belief, Plaintiff’s medical providers would not have offered or recommended Gardasil to Plaintiff.

Moreover, even if after Merck’s dissemination of truthful information concerning the true risks

and efficacy limitation of Gardasil, Plaintiff’s medical providers had offered Gardasil, then upon

information and belief, the providers would have heeded any warnings issued by Merck and

relayed to Plaintiff the safety risks and efficacy limitations that Merck should have warned her



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providers about, but failed to do so. Had Plaintiff been informed of the true risks and efficacy

limitation concerning Gardasil, through her medical providers or through Merck’s ubiquitous

direct-to-consumer promotional marketing, on which she relied, then Plaintiff and her parents

would not have consented to her being injected with Gardasil.

       450.    As a direct and proximate result of Merck’s unreasonable acts in failing to provide

adequate warnings or instructions concerning the dangerous characteristics of Gardasil and its

ingredients and adjuvants, Plaintiff has suffered and continues to suffer severe and permanent

physical injuries, including, but not limited to, her autoimmune disease and associated

symptomology and has suffered severe and permanent emotional injuries, including pain and

suffering. Plaintiff also has a substantial fear of suffering additional and ongoing harms, including

but not limited to now being at an increased risk of cancer, and future symptoms and harms

associated with her autoimmune disease and other injuries caused by Gardasil.

       451.    As a proximate result of Merck’s wrongful acts and omissions and its negligent and

fraudulent testing, labeling, manufacturing, and promotion of Gardasil, Plaintiff has suffered and

continues to suffer severe and permanent physical injuries, including, but not limited to, her

autoimmune disease and associated symptomology and has suffered severe and permanent

emotional injuries, including pain and suffering. Plaintiff also has a substantial fear of suffering

additional and ongoing harms, including but not limited to now being at an increased risk of cancer,

and future symptoms and harms associated with her autoimmune disease and other injuries caused

by Gardasil. As a direct and proximate result of her Gardasil-induced injuries, Plaintiff has suffered

and continues to suffer economic losses, including considerable financial expenses for medical

care and treatment, and diminished income capacity and she will continue to incur these losses and

expenses in the future.



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       452.    Merck’s conduct, as described above, was oppressive, fraudulent, and malicious.

Merck regularly risks the lives of teenagers, including Plaintiff, with full knowledge of the limited

efficacy of Gardasil and the severe and sometimes fatal dangers of Gardasil. Merck has made

conscious decisions to not warn or inform the unsuspecting public, including Plaintiff and her

medical providers. Merck’s conduct, including its false promotion of Gardasil and its failure to

issue appropriate warnings concerning the severe risks of Gardasil, created a substantial risk of

significant harm to children, teenagers, and patients who were being injected with Gardasil, and

therefore warrants an award of punitive damages, as further alleged herein.

       453.    WHEREFORE, Plaintiff requests that the Court enter judgment in her favor for all

compensatory and punitive damages, together with interest, and costs herein incurred, and all such

other and further relief as this Court deems just and proper. Plaintiff also demands a jury trial on

the issues contained herein.

                                     COUNT FOUR
                                 MANUFACTURING DEFECT

       454.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges:

       455.    Plaintiff brings this claim against Merck for manufacturing defect.

       456.    At all times relevant to this litigation, Merck engaged in the business of researching,

testing, manufacturing, marketing, selling, distributing, and promoting Gardasil, which is

defective and unreasonably dangerous to consumers, including Plaintiff, because of

manufacturing defects, which patients, including Plaintiff and her medical providers did not

expect.

       457.    Upon information and belief, the Gardasil vaccines injected into Plaintiff were

defective and unreasonably dangerous because they failed to comply with manufacturing


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specifications required by the governing manufacturing protocols and also required by the

regulatory agencies, including but not limited to the FDA, by among other things, containing

ingredients and toxins that were not disclosed in the FDA-approved specifications and/or

otherwise not disclosed in the package insert.

      458.    Upon information and belief, and as way of example, the Gardasil injected into

Plaintiff was defective and unreasonably dangerous because it failed to comply with the approved

manufacturing specifications, by containing dangerous and undisclosed HPV L1-DNA fragments,

and these DNA fragments could act as a Toll-Like Receptor 9 (TLR9) agonist, further adjuvanting

the vaccine and making it more potent and dangerous than intended.

      459.    Upon information and belief, and as way of example, the Gardasil injected into

Plaintiff was defective and unreasonably dangerous because it failed to comply with the approved

manufacturing specifications, by containing dangerous and undisclosed ingredients and

neurotoxins, including but not limited to, phenylmethylsulfonyl fluoride (PMSF), a toxic nerve

agent that is not intended for human consumption or injections.

      460.    Plaintiff was injected with Gardasil in its intended or reasonably foreseeable

manner without knowledge of its dangerous and inefficacious characteristics.

      461.    Plaintiff and her medical providers could not reasonably have discovered the

defects, including the manufacturing defects, and risks associated with Gardasil before or at the

time of her injection(s). Plaintiff relied upon the skill, superior knowledge, and judgment of

Merck.

      462.    Merck is liable to Plaintiff for injuries caused as a result of its manufacturing

defects.




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      463.    The defects in Merck’s Gardasil vaccine were substantial and contributing factors

in causing Plaintiff’s injuries, and, but for Merck’s misconduct and omissions and Gardasil’s

defects, including but not limited to its manufacturing defects, Plaintiff would not have sustained

the injuries he has sustained to date, and would not have been exposed to the additional

prospective risk and dangers associated with Gardasil.

      464.    As a direct and proximate result of Merck’s wrongful acts and Gardasil’s

manufacturing defects, Plaintiff has suffered and continues to suffer severe and permanent

physical injuries and associated symptomology and has suffered severe and permanent emotional

injuries, including pain and suffering. Plaintiff also has a substantial fear of suffering additional

and ongoing harms, including but not limited to now being at an increased risk of cancer, and

future symptoms and harms associated with her autoimmune disease and other injuries caused by

Gardasil.

      465.      As a direct and proximate result of her Gardasil-induced injuries, Plaintiff has

suffered and continues to suffer economic losses, including considerable financial expenses for

medical care and treatment, and diminished income capacity, and she will continue to incur these

losses and expenses in the future.

      466.    Merck’s conduct, as described above, was oppressive, fraudulent, and malicious.

Merck regularly risks the lives of patients, including Plaintiff, with full knowledge of the limited

efficacy of Gardasil and the severe and sometimes fatal dangers of Gardasil. Merck has made

conscious decisions to not warn, or inform the unsuspecting public, including Plaintiff, and her

medical providers. Merck’s conduct, including its false promotion of Gardasil and its failure to

issue appropriate warnings concerning the severe risks of Gardasil, created a substantial risk of

significant harm to children and patients who were being injected with Gardasil, and therefore



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warrants an award of punitive damages.

      467.    WHEREFORE, Plaintiff requests that the Court enter judgment in her favor for

compensatory and punitive damages, together with interest, and costs herein incurred, and all

such other and further relief as this Court deems just and proper. Plaintiff also demands a jury

trial on the issues contained herein.

                                    COUNT FIVE
                            BREACH OF EXPRESS WARRANTY

      468.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges:

      469.    Merck engaged in the business of testing, researching, manufacturing, labeling,

marketing, selling, distributing, and promoting Gardasil, which is defective and unreasonably

dangerous to consumers, including Plaintiff.

      470.    At all times relevant to this litigation, Merck expressly represented and warranted

through statements made in its Gardasil label, publications, television advertisements, billboards,

print advertisements, online advertisements and website, and other written materials intended for

consumers, patients, parents of minor-aged patients, medical providers and the general public,

that Gardasil was safe and effective at preventing cancer. Merck advertised, labeled, marketed,

and promoted Gardasil, representing the quality to consumers, patients, medical providers and the

public in such a way as to induce their purchase or use, thereby making an express warranty that

Gardasil would conform to the representations.

      471.    These express representations included incomplete warnings and instructions that

purport, but fail, to include the complete array of risks associated with Gardasil. Merck knew

and/or should have known that the risks expressly included in Gardasil’s promotional material

and labels did not and do not accurately or adequately set forth the risks of developing the serious


                                                91
injuries complained of herein. Nevertheless, Merck falsely and expressly represented that

Gardasil was “safe” for use by individuals such as Plaintiff, and/or that Gardasil was “effective”

in preventing cancer and that anyone who was vaccinated with Gardasil would be “one less”

person with cancer.

      472.    The representations about Gardasil, as set forth herein, contained or constituted

affirmations of fact or promises made by the seller to the buyer, which related to the goods and

became part of the basis of the bargain, creating an express warranty that the goods would

conform to the representations.

      473.    Merck breached these warranties because, among other things, Gardasil is

ineffective at preventing cancer, defective, dangerous, unfit for use, and is associated with a

myriad of dangerous and undisclosed risks, including, but not limited to, the risk of autoimmune

disease, including POTS, the risk of developing cervical cancer in women (even though Merck

promoted it as preventing cervical cancer), and the risk of fertility problems for young girls.

Specifically, Merck breached the warranties in the following ways:

              a)      Representing to patients and the medical community, including Plaintiff,

                      her parents and/or her medical providers that Gardasil is effective in

                      preventing cancer, including anal and cervical cancer, when Merck knew

                      that contrary to these representations (i) no clinical studies were performed

                      to test if Gardasil prevents cancer; (ii) the clinical studies confirmed that

                      Gardasil is indeed ineffective when used in patients who have previously

                      been exposed to HPV, and that Gardasil actually increases the risk of cancer

                      in a patient who has been previously exposed to HPV; and (iii) there are

                      safer and more effective methods of monitoring for and attempting to



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                       prevent cervical or anal cancer, including but not limited to regular testing,

                       such as regular Pap smears for cervical cancer, and monitoring for anal

                       cancer.

               b)      Representing to patients and the medical community, including Plaintiff and

                       her medical providers that Gardasil is safe, when in reality, Gardasil causes

                       and presents serious risks of cancer, autoimmune disease, including but not

                       limited to POTS, and other grave illnesses as outlined herein;

               c)      Engaging in false advertising and disease mongering by scaring parents and

                       teenagers into believing that cervical and anal cancer is far more prevalent

                       than it really is; that all cervical and anal cancer was linked to HPV; that

                       Gardasil prevented cervical cancer, when in reality none of these

                       representations were true as cervical cancer rates were declining in the

                       United States due to Pap testing and Gardasil has not been shown to prevent

                       against all strains of HPV that are associated with cervical cancer and

                       indeed it has never been shown to prevent cervical or anal cancer.

       474.    Merck had sole access to material facts concerning the nature of the risks and

defects associated with Gardasil as expressly stated within its promotional material and labels, and

Merck knew that patients and users such as Plaintiff could not have reasonably discovered the truth

about the inefficacies and serious risks associated with Gardasil as alleged herein.

       475.    Plaintiff had no knowledge of the falsity or incompleteness of Merck’s statements

and representations concerning Gardasil.

       476.    Plaintiff was exposed to and relied upon the ubiquitous promotional material and

representations Merck made in its direct-to-consumer advertisements and marketing materials



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concerning the safety and efficacy of Gardasil, including: that Gardasil prevents cervical and anal

cancer and these cancers are prevalent (even though children rarely get cervical or anal cancer and

Pap tests are the best frontline defense in detecting and fighting cervical cancer); that “good

mothers” vaccinate their children and that Gardasil is perfectly safe. However, had Merck in these

advertisements not engaged in disease mongering and deception, but instead had informed her the

truth about the serious risks of Gardasil (as outlined in this Complaint) and its lack of efficacy, she

would never have consented to being injected with Gardasil, nor would Plaintiff have consented

to the Gardasil injection(s) had she been adequately informed about the questionable efficacy and

serious risks associated with Gardasil.

       477.    As a proximate result of Merck’s wrongful acts and breaches of warranties

concerning the safety and efficacy of Gardasil, Plaintiff has suffered and continues to suffer severe

and permanent physical injuries, and associated symptomology and has suffered severe and

permanent emotional injuries, including pain and suffering. Plaintiff also has a substantial fear of

suffering additional and ongoing harms, including but not limited to now being at an increased risk

of cancer, and future symptoms and harms associated with her autoimmune disease and other

injuries caused by Gardasil.

       478.      As a direct and proximate result of her Gardasil-induced injuries, Plaintiff has

suffered and continues to suffer economic losses, including considerable financial expenses for

medical care and treatment, and diminished income capacity and she will continue to incur these

losses and expenses in the future.

       479.    Merck’s conduct, as described above, was oppressive, fraudulent, and malicious.

Merck regularly risks the lives of patients, including Plaintiff, with full knowledge of the limited

efficacy of Gardasil and the severe and sometimes fatal dangers of Gardasil. Merck has made



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conscious decisions to not warn, or inform the unsuspecting public, including Plaintiff and her

medical providers. Merck’s conduct, including its false promotion of Gardasil and its failure to

issue appropriate warnings concerning the severe risks of Gardasil, created a substantial risk of

significant harm to children and patients who were being injected with Gardasil, and therefore

warrants an award of punitive damages.

       480.    WHEREFORE, Plaintiff requests that the Court enter judgment in her favor for

compensatory and punitive damages, together with interest, and costs herein incurred, and all such

other and further relief as this Court deems just and proper. Plaintiff also demands a jury trial on

the issues contained herein.

                                       COUNT SIX
                                    COMMON LAW FRAUD

       481.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges:

       482.    Merck is the researcher, manufacturer, labeler, and promoter of Gardasil.

       483.    Merck marketed Gardasil to and for the benefit of patients, including teenagers such

as Plaintiff and her medical providers.

       484.    Merck had a duty to deal honestly and truthfully with regulators, patients,

consumers and medical providers in its testing, marketing, promotion, and sale of Gardasil.

       485.    Merck’s duty of care owed to patients and medical providers included providing

accurate, complete, true, and correct information concerning the efficacy and risks of Gardasil in

its direct-to-consumer advertisements, promotional material, and labeling.

       486.    At all times relevant to this litigation, Merck knew or should have known of the

hazards and dangers of Gardasil and specifically, the serious, debilitating and potentially fatal




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adverse events associated with Gardasil, including but not limited to autoimmune diseases,

increased risk of cancer, and death.

       487.    At all times relevant to this litigation, Merck knew or should have known that its

poorly designed clinical trials and studies were insufficient to test the true long-term safety and

efficacy of Gardasil.

       488.    At all times relevant to this litigation, Merck expressly represented through

statements it made in its publications, ubiquitous television advertisements, billboards, print

advertisements, online advertisements and website, and other written materials intended for

consumers, patients, parents of minor-aged patients, medical providers and the general public,

that Gardasil was safe and effective at preventing cancer.

       489.    These express representations included incomplete warnings and instructions that

purport, but fail, to include the complete array of risks associated with Gardasil. By way of

example Merck’s marketing material, including its “One Less” television and print advertisement

campaign (including but not limited to Gardasil posters in medical facilities and doctors’ offices),

which Plaintiff had been exposed to, stated that Gardasil was safe, that Gardasil was effective in

preventing cancer, that Gardasil was a “cervical cancer vaccine,” and that any young child or

teenager who was vaccinated with Gardasil would lead to “one less” person with cervical or anal

cancer. The only safety warnings Merck provided in these marketing materials was that a patient

could get pain, swelling or redness at injection site, fever, and/or nausea.

       490.    The ubiquitous nature of these Gardasil commercials and the Gardasil marketing

campaign gave the impression that cervical cancer was on the rise and more prevalent than it

actually was, and that all good mothers vaccinate their children with the “cervical cancer vaccine.”




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      491.    Merck knew or should have known that the risks expressly included in Gardasil’s

promotional material and labels did not and do not accurately or adequately set forth the true and

complete risks of developing the serious injuries that are associated with Gardasil, as previously

alleged herein, and which include but are not limited to POTS, systemic adverse events,

autoimmune disease, increased risk of cancer, and death.

      492.    Upon information and belief, the same promises of efficacy and limited and

incomplete warnings Merck relayed in its direct-to-consumer advertising, were what Plaintiff’s

medical providers relayed to her when they recommended Gardasil – i.e., that if Plaintiff got

vaccinated with Gardasil, it would prevent cancer, and the only risks associated with Gardasil are

soreness, redness, minor pain, and a headache may develop.

      493.    Plaintiff had been exposed to Merck’s marketing material concerning Gardasil,

including the aforementioned “One Less” marketing campaign and other print advertisements and

posters at doctors’ offices, and the representations made by Merck therein that Gardasil is

effective at preventing cervical and anal cancer, that Gardasil is safe and that its only side-effects

are essentially minor injection site pain and swelling, and the possible onset of a fever or nausea.

Prior to providing consent to inject Plaintiff with the Gardasil vaccine, Plaintiff was never

informed by Merck, or anyone else, that Gardasil is linked to a host of serious debilitating and

chronic adverse events including, autoimmune diseases (including, but not limited to, POTS),

increased risk of cancer, and death.

      494.    Prior to providing consent to inject Plaintiff with the Gardasil vaccine, Plaintiff was

never informed by Merck, or anyone else, that Merck had not conducted the proper testing

necessary to demonstrate the efficacy and full safety of Gardasil.




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       495.    Prior to providing consent to inject Plaintiff with the Gardasil vaccine, Plaintiff was

never informed by Merck, or anyone else, that Merck had, as alleged herein, manipulated its

clinical studies to mask and conceal the adverse events associated with Gardasil.

       496.    Prior to providing consent to inject Plaintiff with the Gardasil vaccine, Plaintiff was

never informed by Merck, or anyone else, that the Gardasil clinical trials never established that

Gardasil can prevent cervical or anal cancer, even though Merck in its promotional material

falsely represented that Gardasil was a “cervical cancer vaccine” and that a patient who received

Gardasil would result in “one less” woman or man getting cancer.

       497.    Merck’s representations were false and concealed material facts, because in truth,

Gardasil has not been proven to prevent cervical or anal cancer and is associated with a myriad of

dangerous and undisclosed risks, including, but not limited to, the risk of autoimmune disease,

including POTS, increased risk of developing cancer, and other serious side effects. The false

representations and concealment of material facts Merck made to the patients, children, teenagers,

the parents of children and teenagers, the medical community, including to Plaintiff, included:

               a)     that Gardasil is effective in preventing cervical and anal cancer, when

                      Merck knew that, contrary to these representations (i) no clinical studies

                      were performed to test whether Gardasil prevents cancer; and (ii) the

                      clinical studies confirmed that Gardasil is indeed ineffective when used in

                      patients who have previously been exposed to HPV, and that Gardasil

                      actually increases the risk of cervical cancer in any child or patient who has

                      been previously exposed to HPV;

               b)     that Gardasil is safe, when in reality, Gardasil causes and presents severe

                      risks of cancer (including cervical cancer, the very cancer it is promoted as



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                       preventing), fertility problems, autoimmune disease, including POTS, OI,

                       and other grave illnesses;

               c)      false advertising and disease mongering by scaring parents into believing

                       that cervical and anal cancer were far more prevalent than it really was; that

                       Gardasil prevented cervical and anal cancer; and that Gardasil only had risks

                       of injection site pain and fever, when in reality none of these representations

                       were true as cervical cancer rates were declining in the United States due to

                       Pap testing and Gardasil has not been shown to prevent cervical or anal

                       cancer, and indeed some studies demonstrated that it actually increased the

                       risk of cervical cancer; and Gardasil was linked to a host of serious, chronic

                       and sometimes fatal diseases, including autoimmune diseases, as previously

                       outlined in this Complaint.

       498.    The representations and other similar representations were made by Merck and

were reasonably calculated to deceive the public, including Plaintiff.

       499.    These representations and other similar representations were made by Merck to the

public, including to Plaintiff, with the intent to deceive consumers regarding the safety and efficacy

of Gardasil so that parents would either seek out Gardasil from their medical providers or otherwise

would provide their consent when they were offered Gardasil.

       500.    These representations and other similar representations made by Merck to the

public did in fact deceive Plaintiff regarding the safety and efficacy of Gardasil.

       501.    At the time she provided her consent to the Gardasil injection(s), Plaintiff was not

aware of the falsity of Merck’s aforementioned representations concerning the safety and efficacy

of Gardasil.



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       502.    Plaintiff reasonably and justifiably relied upon the truth of the assurance made by

Merck in its direct-to-consumer marketing concerning the efficacy and safety of Gardasil (which

were also echoed by Plaintiff’s medical providers), when she provided consent to be injected with

the Gardasil vaccine.

       503.    Had Merck’s advertisements and promotional material, which Merck targeted to

teenagers and the parents of teenagers, and which Plaintiff received and on which she relied,

provided complete and truthful warnings and properly disclosed and disseminated the true risks,

limitations and lack of efficacy associated with Gardasil, then Plaintiff and her parents would not

have consented to her being injected with Gardasil.

       504.    Merck also engaged in a number of additional fraudulent activities that led to

regulators, medical providers (upon information and belief, including but not limited Plaintiff’s

medical providers), and the general public (including directly and/or indirectly Plaintiff) to be

duped into believing that Gardasil is safe and effective. These fraudulent acts are outlined in

greater detail herein, and included, among others:

               a)       Failing to test Gardasil against a true inert placebo and lying to the public

                        that Gardasil was tested against a placebo, when in reality, all, or nearly all,

                        studies used a toxic placebo that included the dangerous aluminum adjuvant

                        AAHS.

               b)       Failing to conduct a sufficient number of studies for the targeted patient

                        population which included pre-teen girls (and boys) between the ages of

                        nine and 12.

               c)       Not using the commercial dosage (and instead using a lower dosage of the




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                       adjuvant and ingredients) in one of the key clinical trials, which was used

                       to obtain licensing for the commercial dosage of Gardasil;

               d)      Using very restrictive exclusionary criteria in the clinical study patient

                       population (including for example, exclusion of anyone who had prior

                       abnormal Pap tests, who had a history of immunological or nervous system

                       disorders or was allergic to aluminum or other ingredients), but then not

                       revealing or warning about these exclusionary criteria in the label and

                       knowing that for most of these ingredients and allergies, there are limited

                       resources for the public to test for such allergies in advance of being

                       vaccinated;

               e)      Failing to disclose all of the ingredients in Gardasil, including but not

                       limited to the fact that Gardasil contains dangerous HPV L1-DNA

                       fragments and that these DNA fragments could act as a Toll-Like Receptor

                       9 (TLR9) agonist – further adjuvanting the vaccine and making it more

                       potent and dangerous.

       505.    Merck engaged in the above mentioned fraudulent conduct as well as the additional

fraudulent conduct detailed herein with the intent to enhance Gardasil’s safety and efficacy profile

and to conceal Gardasil’s serious risks and efficacy shortcomings in order to secure regulatory

approval and more importantly, so as to encourage physicians and medical providers to

recommend Gardasil to patients and to prepare and encourage patients to request and consent to

Gardasil injections.

       506.    Plaintiff could not reasonably have discovered the falsity of Merck’s

representations, the fraudulent nature of Merck’s conduct, and the defects and risks associated with



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Gardasil before or at the time of her injection(s).      Plaintiff relied upon the skill, superior

knowledge, and judgment of Merck, the manufacturer, labeler, and promoter of Gardasil, and they

detrimentally relied upon Merck’s fraudulent, false, and misleading statements, omissions, and

conduct.

       507.    As a proximate result of Merck’s fraudulent, false, and misleading statements,

omissions, and conduct concerning the safety and efficacy of Gardasil, Plaintiff has suffered and

continues to suffer severe and permanent physical injuries, and associated symptomology and has

suffered severe and permanent emotional injuries, including pain and suffering. Plaintiff also has

a substantial fear of suffering additional and ongoing harms, including but not limited to now being

at an increased risk of cancer, and future symptoms and harms associated with her autoimmune

disease and other injuries caused by Gardasil.

       508.      As a direct and proximate result of her Gardasil-induced injuries, Plaintiff has

suffered and continues to suffer economic losses, including considerable financial expenses for

medical care and treatment, and diminished income capacity and she will continue to incur these

losses and expenses in the future.

       509.    Merck’s conduct, as described above, was oppressive, fraudulent, and malicious.

Merck regularly risks the lives of patients, including Plaintiff, with full knowledge of the limited

efficacy of Gardasil and the severe and sometimes fatal dangers of Gardasil. Merck has made

conscious decisions to not warn, or inform the unsuspecting public, including Plaintiff and her

medical providers. Merck’s conduct, including its false promotion of Gardasil and its failure to

issue appropriate warnings concerning the severe risks of Gardasil, created a substantial risk of

significant harm to children and patients who were being injected with Gardasil.

       510.    WHEREFORE, Plaintiff requests that the Court enter judgment in her favor for



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compensatory and punitive damages, together with interest, and costs herein incurred, and all such

other and further relief as this Court deems just and proper. Plaintiff also demands a jury trial on

the issues contained herein.

                           COUNT SEVEN
    VIOLATION OF THE NORTH CAROLINA UNFAIR AND DECEPTIVE TRADE
        PRACTICES ACT (“UDTPA”) (N.C. GEN. STAT. §§ 75-1.1, ET SEQ.)

       511.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges:

       512.    As described herein, Merck has engaged in and continues to engage in unfair or

deceptive acts or practices in or affecting commerce in violation of North Carolina’s Unfair or

Deceptive Trade Practices Act, N.C. Gen. Stat. § 75-1.1, et seq.

       513.    Because of Merck’s unlawful, fraudulent, and unfair business practices, Plaintiff

was misled into purchasing and consenting to the Gardasil injection(s).

       514.    Merck engaged in substantial advertising and marketing of Gardasil within North

Carolina.

       515.    Merck widely advertised and promoted Gardasil as a safe and effective vaccine that

had no serious side effects.

       516.    Yet, contrary to its above referenced false claims concerning the safety and efficacy

of Gardasil, Merck knew, or should have known, that Gardasil was ineffective, unreasonably

dangerous and defective, and had a propensity to cause serious and life-threatening side effects,

including but not limited to autoimmune diseases and other grave injuries as outlined in this

Complaint.

       517.    Merck’s concealment of the autoimmune risks and other adverse events outlined in

this Complaint was a material omission that consumers, patients, parents, and prescribing



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healthcare professionals should have known about prior to purchasing, consenting to injections of,

or prescribing Gardasil.

       518.       Merck’s concealment of the lack of efficacy and false representations concerning

the efficacy of Gardasil in preventing cancer was a materially false representation and omission

that consumers, patients, parents, and prescribing healthcare professionals should have known

about prior to purchasing, consenting to injections of, or prescribing Gardasil.

       519.       Merck had sole access to material facts concerning the nature of the risks and

defects associated with Gardasil as expressly stated within its promotional material and labels, and

Merck knew that patients and users such as Plaintiff and her medical providers could not have

reasonably discovered the truth about the inefficacies and serious risks associated with Gardasil as

alleged herein.

       520.       Plaintiff had no knowledge of the falsity or incompleteness of Merck’s statements

and representations concerning Gardasil.

       521.       Plaintiff reasonably and justifiably relied upon the truth of the assurance made by

Merck in its direct-to-consumer marketing concerning the efficacy and safety of Gardasil (which

were also echoed by Plaintiff’s medical providers), when she provided her consent to being

injected with the Gardasil vaccine.

       522.       Had Merck’s advertisements and promotional material, which Merck targeted to

teenagers and the parents of teenagers, and which Plaintiff received and on which she relied,

provided complete and truthful warnings and properly disclosed and disseminated the true risks,

limitations, and lack of efficacy associated with Gardasil, then Plaintiff would never have

consented to being injected with Gardasil.

       523.       As a direct and proximate result of Merck’s unlawful, fraudulent, and unfair



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business practices, Plaintiff has sustained injuries and economic damages as outlined herein,

including but not limited to, agreeing to being injected with Gardasil, which upon information and

belief, costs more than $100 per vile.

       524.      Plaintiff engaged counsel to prosecute this action and pursuant to N.C. Gen. Stat. §

75-16.1 reasonable attorney fees should be awarded.

       525.      As a result of Merck’s conduct described herein, damages should be rendered in

favor of Plaintiff and against Merck for treble the amount fixed by verdict pursuant to N.C. Gen.

Stat. § 75-16.

       526.      Plaintiff is informed and believes and based thereon alleges that the illegal acts of

Merck as described above are a serious and continuing threat to the Plaintiff and the public. If

Merck is allowed to continue their unfair and unlawful acts, the Plaintiff and the public will suffer

further immediate and irreparable injury, loss, and damage.

       527.      As a result of Merck’s violation of the UDTPA, Plaintiff seeks an order of this

Court enjoining Merck from continuing these unlawful, fraudulent, and unfair practices and

awarding Plaintiff remedies, including but not limited to disgorgement of Merck’s profits,

restitution, fees, and all other remedies available under law.

       528.      WHEREFORE, Plaintiff requests that the Court enter judgment in her favor for

restitution, disgorgement of Merck’s ill-gotten profits, punitive damages, and all other permissible

monetary relief, together with interest, costs herein incurred, attorney fees, and all such other and

further relief as this Court deems just and proper. Plaintiff also requests that the Court issue an

injunction prohibiting Merck from continuing its false advertising and unlawful acts and practices

concerning Gardasil and to grant any other preliminary or permanent equitable relief as deemed

appropriate.



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                                           COUNT EIGHT
                                         PUNITIVE DAMAGES

          529.   Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges:

          530.   Plaintiff is entitled to compensatory damages from Merck under the foregoing

claims.

          531.   The conduct of Merck as alleged herein, was reckless, willful, wanton, gross,

intentional, and/or oppressive and in callous disregard for the rights and safety of others,

particularly Plaintiff.

          532.   As a result of the oppressive, willful and wanton, gross, intentional, and/or reckless

misconduct by Merck, Merck is responsible for punitive damages.

          533.   The aggravating factors in this case are the reckless, willful, intentional, or wanton

conduct, as defined in N.C. Gen. Stat. § 1D-5, of Merck, as set out herein and as will be proven at

trial.

          534.   Upon information and belief, the owners, officers, board of directors, and/or

managers of Merck condoned the conduct constituting the aggravating factors giving rise to this

claim.

          535.   There is a need to punish Merck for its egregiously wrongful acts described above

and to deter Merck and others from committing similar wrongful acts in the future.

          536.   WHEREFORE, Plaintiff is entitled to recover such punitive damages as may be

awarded by the jury that bear a rational relationship to the sum reasonably needed to punish Merck

and/or to deter Merck and others from committing similar wrongful acts in the future. Plaintiff

also demands a jury trial on the issues contained herein.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Kameron Hilton, requests that the Court enter judgment in her

favor and against Merck & Co., Inc., and Merck, Sharp and Dohme Corporation (collectively

“Merck”) as to all causes of action, and awarding as follows:

       A.      For compensatory damages, in an amount exceeding this Court’s jurisdictional

               minimum and to be proven at trial;

       B.      For economic and non-economic damages in an amount to be proven at trial;

       C.      For medical, incidental, hospital, psychological and other expenses in an amount to

               be proven at trial;

       D.      For loss of earnings and earnings capacity, in an amount to be proven at trial;

       E.      For an award of pre-judgment and post-judgment interest as provided by law;

       F.      For exemplary and punitive damages against Merck;

       G.      For preliminary and/or permanent injunctive relief against Merck;

       H.      For an award providing for payment of reasonable fees, court costs, and other

               litigation expenses as permitted by law;

       I.      For such other and further relief as this Honorable Court may deem just and proper.

                                  DEMAND FOR JURY TRIAL

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff, Kameron Hilton,

hereby demands a jury trial on all of her claims, causes of action and issues that are triable by jury.




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This the 18th day of March, 2022.

                                          /s/ Allison Mullins
                                          Allison Mullins
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                                          L. Cooper Harrell
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